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                       NON-CONFIDENTIAL VERSION


                                     2021-2146


          United States Court of Appeals
              for the Federal Circuit
      MASIMO CORPORATION, CERCACOR LABORATORIES, INC.,
                                Plaintiffs-Appellees

                                         v.

              TRUE WEARABLES, INC., MARCELO LAMEGO,
                              Defendants-Appellants


        Appeal from the United States District Court for the Central District
                     of California in Case No. 8:18-CV-02001


     CORRECTED OPENING BRIEF OF DEFENDANTS-APPELLANTS
          TRUE WEARABLES, INC., MARCELO LAMEGO


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 August 26, 2021                              Attorneys for Defendants-Appellants



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                          CERTIFICATE OF INTEREST

       Pursuant to Federal Circuit Rules 27(a)(3) and 47.4, counsel for Defendants-

 Appellants True Wearables, Inc. and Marcelo Lamego certifies the following:

       1.     The full name of the party represented by me is:

              True Wearables, Inc. and Marcelo Lamego

       2.     The name of the Real Party in interest represented by me is:

              N/A

       3.     Parent corporations and publicly held companies that own 10% or

 more of the stock in the party:

              True Wearables, Inc. hereby states that it has no parent corporation
              and that no publicly held company owns 10% or more of its stock.

       4.     The names of all law firms and the partners or associates that

 appeared for the party or amicus now represented by me in the trial court or agency

 or are expected to appear in this Court (and who have not or will not enter an

 appearance in this case) are:

              Amanda R. Washton and Sherron L. Wiggins of CONKLE, KREMER
              & ENGEL

              Samuel G. Brooks of CALL & JENSEN APC

              Zachary D. Kachmer, Eric R. Chad, and Scott P. Shaw of
              MERCHANT & GOULD P.C.


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              Roderick O’Dorisio and Andrew T. Pouzeshi, formerly of
              MERCHANT & GOULD P.C.

       5.     The title and number of any case known to counsel to be pending in

 this or any other court or agency, other than the originating case, that will directly

 affect or be directly affected by this court’s decision in the pending appeal:

              N/A

       6.     Organizational Victims and Bankruptcy Cases:

              N/A



 Dated: August 26, 2021

                                                 /s/ Rachel Zimmerman Scobie
                                                 Rachel Zimmerman Scobie

                                                 Attorneys for Defendants-Appellants
                                                 True Wearables, Inc. and Marcelo
                                                 Lamego




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                        CONFIDENTIAL MATERIAL OMITTED

 Pursuant to Federal Circuit Rule 25.1, this brief redacts materials that Appellees
 designated as confidential under the protective order entered by the district court.
 This material has been redacted at Appellees’ request. The material omitted includes
 the name and description of Appellees’ alleged TSS trade secret, descriptions of the
 mathematical method underlying the same, and the name of a public domain
 publication disclosing Appellees’ alleged TSS trade secret. The redacted material
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                       STATEMENT OF RELATED CASES

        Pursuant to Federal Circuit Rule 47.5, counsel for Defendants-Appellants

  True Wearables, Inc. and Marcelo Lamego certifies the following:

        a.     there have been no other appeals in this case; and

        b.     there are no other cases pending in this or any other court that will

  directly affect or be directly affected by this Court’s decision in No. 2021-2146.




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                        JURISDICTIONAL STATEMENT

        The district court had jurisdiction under 28 U.S.C. §§ 1331 and 1367(a). This

  Court has jurisdiction under 28 U.S.C. §§ 1292(c)(1) and 1295(a)(1).

        The district court issued a decision granting Masimo’s motion for a

  preliminary injunction on April 28, 2021. Appx000001-000019. True Wearables

  filed a Motion for Relief from the Court’s Order Granting Plaintiffs’ Motion for

  Preliminary Injunction under Federal Rules of Civil Procedure 59(e) and 60 on May

  26, 2021. Appx005206-005215. The district court denied that motion on June 16,

  2021. Appx000039-000044. True Wearables timely filed a notice of appeal to this

  Court on July 14, 2021.




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                          STATEMENT OF THE ISSUES

        1.      The district court determined Appellees Masimo Corporation

  (“Masimo Corp.”) and Cercacor Inc. (“Cercacor”) (collectively “Masimo”) were

  likely to succeed on the merits of their misappropriation claim under the California

  Uniform Trade Secrets Act (“CUTSA”) and issued a preliminary injunction

  requiring Appellants to prevent their patent applications, which were asserted to

  contain the alleged trade secret, from publishing. Regarding likelihood of success on

  the merits:

                a.   Did the district court err as a matter of law in deeming unrebutted

        evidence that the alleged trade secret was generally known, and appeared in

        its entirety in a widely distributed and oft-cited IEEE publication, irrelevant

        to the question of whether the alleged trade secret was protectable under the

        CUTSA?

                b.   Did the district court abuse its discretion in determining Masimo

        was likely to meet its burden to prove misappropriation of the alleged trade

        secret despite the unrebutted evidence that Appellant Dr. Lamego

        independently derived the accused formula using his knowledge and skill in

        mathematics, and the absence of any evidence that he took any materials

        containing the alleged trade secret from Masimo?




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        2.     The portion of the preliminary injunction at issue on appeal requires

  Appellants True Wearables, Inc. (“True Wearables”) and Marcelo Lamego (“Dr.

  Lamego”) (collectively “True Wearables”) to “take all necessary steps” to prevent

  publication of U.S. Patent Application No. 62/591,158 and any patent application

  that claims priority thereto. Compliance requires True Wearables to delay issuance

  of already allowed patent applications, thus losing an irretrievable portion of its

  patent term. Did the district court err in failing to consider this hardship to True

  Wearables when it determined the balance of equities weighed in Masimo’s favor,

  particularly given that the alleged trade secret has already been published elsewhere?

        3.     After the district court issued the preliminary injunction, True

  Wearables moved for reconsideration based on new evidence, including depositions

  of Masimo’s current and former employees, which provided added confirmation that

  IEEE publications of the sort containing the alleged trade secret were frequently

  read, reviewed, and relied upon by engineers in the industry. Did the district court

  err as a matter of law in determining this evidence had no relevance to whether the

  alleged trade secret is generally known and, therefore, not a trade secret?




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                            STATEMENT OF THE CASE

  I.    Introduction

        This case is remarkable because the district court determined that the alleged

  trade secret at issue on appeal, a mathematical formula, was not “generally known”

  even though the exact formula was published in an IEEE article in 2008, years before

  any alleged misappropriation. Publication of the alleged trade secret by the IEEE

  destroyed its secrecy, as evidenced by the fact that the IEEE article in question,


  - •
  Name        & Name has since been cited by others more than 1,200 times.

  Complementing this documentary record, True Wearables submitted testimony from

  its expert witness who testified that the alleged trade secret was generally known and


                  -■
                                Name
  who identified Name       &          as but one example of its publication by others in

  several sources, including textbooks, since the 1960s. The district court’s decision

  reflects the application of a legally erroneous and overly restrictive test for

  determining whether an alleged trade secret is generally known; one that is

  seemingly impossible to meet and offers protection over information that in no way

  qualifies as secret.

        Other problematic errors are evident in the district court’s decision. The

  district court’s assertion that True Wearables did not provide “any response to

  Plaintiffs’ contention that [Dr.] Lamego brought the [alleged trade secret] with him

  after he left his job with Plaintiffs” ignores the evidentiary record. The record


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  contains substantial evidence of Dr. Lamego’s independent development of the

  material in question over a period of three years after he left Cercacor. In contrast,

  Masimo never identified any evidence that Dr. Lamego took any documents or files

  containing the alleged trade secret with him when he left.

        The district court’s decision also fails to acknowledge the hardship imposed

  on True Wearables by the injunction. To comply with the first prong of the

  injunction, which is the only prong challenged on appeal, True Wearables must

  prevent its patent applications from issuing. At the time of the injunction, the

  applications had received notices of allowance and would have issued upon payment

  of the issue fee. Accordingly, compliance causes True Wearables to suffer an

  irretrievable loss of patent term. Contrasted with the alleged harm to Masimo—

  additional publication of an alleged trade secret that has long been in the public

  domain—the district court’s determination that the balance of the hardships favors

  Masimo cannot be supported.

        The district court’s injunction preventing True Wearables from permitting its

  patent applications to publish was premised entirely on these errors of law and fact.

  This decision, made without granting oral argument, holding an evidentiary hearing,

  or requiring Masimo to post a bond, should be reversed.

        The district court’s denial of True Wearables’ motion for reconsideration also

  should be reversed. After the district court issued its preliminary injunction order,


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  deposition testimony of three current and former employees of Masimo provided

  further evidence that the alleged trade secret was generally known and, therefore,

  could not be a trade secret. The opinion denying the motion for reconsideration made

  plain the district court’s application of an incorrect legal standard. Specifically, the

  district court wrongly held that, under California law, evidence that an alleged trade

  secret appears in a printed publication cannot be considered in connection with

  determining whether it is generally known. The district court erred in relying on that

  incorrect bright line rule to justify its improper rejection of any publication-related

  evidence, even in combination with testimony concerning the same.

        The district court erred in granting the injunction preventing publication of

  True Wearables’ patent applications, and in denying True Wearables’ motion for

  reconsideration. Those decisions should be reversed, and the portion of the

  preliminary injunction applicable to the publication of True Wearables’ patent

  applications should be vacated.

  II.   Factual and Procedural Background

        A.     The technology at issue and Masimo’s lawsuit

        On November 8, 2018, Masimo Corporation (“Masimo Corp.”) and Cercacor

  Inc. (“Cercacor”) (collectively “Masimo”) filed a complaint against True Wearables,

  Inc. (“True Wearables”) and Marcelo Lamego (“Dr. Lamego”) (collectively “True

  Wearables”). Appx000108-000159. Dr. Lamego holds a Ph.D. in Electrical and


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  Electronics Engineering from Stanford University. Appx001377; Appx003988

  (21:2-19). He formerly served as Chief Technology Officer of Cercacor, which used

  to be a division of Masimo Corp. Appx000112 (¶ 15); Appx000120-000121 (¶¶ 34-

  35). Dr. Lamego left Cercacor in 2014. Id. After leaving, he first worked for Apple

  Inc., and later founded True Wearables. Appx000122 (¶ 38); Appx001377. In the

  underlying lawsuit, Masimo alleged that Dr. Lamego and True Wearables

  misappropriated certain alleged trade secrets in violation of California’s Uniform

  Trade Secrets Act (“CUTSA”), Cal. Civ. Code §§ 3426 et seq., Appx000127-000130

  (¶¶ 75-87), and the Federal Defend Trade Secrets Act (“DTSA”), 18 U.S.C. §§ 1836

  et seq., Appx000131-000134 (¶¶ 89-101). Masimo also asserted several patent

  claims. Appx000136-000155 (¶¶ 118-90).

        The present appeal concerns one of the alleged Masimo trade secrets. The

  alleged trade secret at issue on appeal relates to an algorithm used to solve

  optimization problems. Appx000404 (¶ 4); Appx000410-000411 (¶¶ 25-27). One

  practical application for such algorithm is in the development of mathematical

  models that can be used in connection with pulse co-oximeters or other noninvasive

  monitoring devices. Id.

        Noninvasive    monitoring    devices   are   medical   devices   that   make

  determinations of certain physiological values, such as the concentration of total

  hemoglobin, a measurement that Masimo terms “SpHb.” Appx000110-000111


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  (¶ 11); Appx000112 (¶ 16); Appx000404 (¶ 4). To determine SpHb, a device emits

  different wavelengths of light from LEDs (light emitting diodes) into a portion of

  the user’s body, most commonly the fingertip. Appx000404-000407 (¶¶ 4-11).

  When the light emerges from the tissue on the other side, photodetectors in the

  device measure how much light has been absorbed for each wavelength. Id. This

  data is then converted into an estimated SpHb level using a mathematical equation.

        An equation that estimates hemoglobin levels based on light absorption data

  might take the form of SpHb = Ax + By + Cz . . . , where x, y, and z are light

  absorption measurements and where A, B, and C are constants (or “coefficients”).

  Appx000407-000409 (¶¶ 12-16). The equation uses coefficients to weight the

  importance of different variables from the monitoring device. Id.

        The proper coefficients to apply to the data from a particular noninvasive

  monitoring device are determined by analyzing patient data from clinical trials.

  Appx000409-000410 (¶¶ 19-22). In clinical trials, the device makes light absorption

  measurements for each subject, and each subject’s actual SpHb is also determined

  through a blood test. Appx000406-000407 (¶ 10); Appx000409-000410 (¶¶ 19-22).

  The data collected during the clinical trial is then used to determine the coefficients

  for an equation that calculates estimated SpHb from the device’s light absorption

  measurements. Id. The objective is to find the coefficients (i.e. the values for A, B,

  C, etc.) to apply to each variable (i.e. x, y, z, etc.) that minimize the discrepancy


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  between the values of SpHb predicted by the equation and the true values of SpHb

  measured during the clinical trial. Appx000410 (¶ 22). When this discrepancy is

  small it can be said that the equation “fits” the clinical data. A model or equation

  that fits the clinical data is likely to produce accurate estimates of SpHb for future

  users of the device. Appx000409-000410 (¶¶ 19-22).

        Often, equations like this use more than the 3 coefficients represented in the

  above example. For a measurement like SpHb, there may be hundreds of coefficients

  for a particular device. Appx000408-000409 (¶ 16). Because an equation with

  hundreds of coefficients is too complicated to solve by hand or on paper, a computer-

  implemented equation           may be used. A equation           is an algorithm that

  finds the optimal values for the coefficients by starting with a guess, and then


  -
  adverb     updating the guess to achieve a better fit over time until the fit is

  sufficiently good. Id.; Appx000410 (¶ 22). Some solvers find a “fit” more quickly

  than others. The speed and accuracy of the solver depends on the effectiveness of

  the solver’s equation          which mathematically determines whether, how, and


                                                           -                   -
  to what extent each coefficient should be adjusted (or adjective) at each adjective

  step to improve the correlation between the SpHb equation and the clinical data.

  Appx000410 (¶ 22); Appx003109-003110 (¶ 33).

        In this case, Masimo alleges a equation       it calls the equation

  or “TSS,” is a trade secret. Appx000386. Prior to 2016, Masimo allegedly used the


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  TSS to determine the coefficients for SpHb equations for some of its devices.

  Appx000389-000391. While working for Cercacor, Dr. Lamego mathematically

  derived the TSS, using his knowledge of linear algebra and optimization methods.

  Appx0004 10 (,r 25). In 2010, he developed an internal Workshop Presentation,

  which disclosed two different TSS equations                    an adjective        equatim


  - a n d a adjective equation                        Appx000413-000425 ; Appx000502-

  000514; Appx003102-003103 (,r,r 14-15). The two equations                    provide two

  different options for adjusting the SpHb coefficients to "fit" the coefficients to the

  clinical data for a given device after each   @lfbf step of the trial-and-error process.
  The adjective       equation         permits the coefficients to have any numerical

  value, while the adjective equation                verb      them within pre-set ranges. 1

  While Masimo allegedly at some point in time employed these equations                   to

  determine coefficients for certain of its noninvasive monitoring devices,

  Appx0004 1 l (if 27), the TSS equations             themselves have many other uses and

  are not unique to determining coefficients for noninvasive monitoring devices.

  Equations , and their equations                , can be used in any data fitting exercise.

  Appx003 103 (,r 16); Appx003107 (,r 26); Appx003108 (,r 28).


  1 While Masimo asserts the alleged TSS trade secrets are not limited to these two

                  , the district court's decision found only the       TSS-

  lea!
  ~•S9flp
          in True Wearables ' patent applications. Appx000014-000016. Because this
         concerns ~ t i o n against publication of lhose_ applications, the
              TSS ~ 1s the sole alleged trade secret at issue here.
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        B.    Dr. Lamego’s work after leaving Cercacor

        Dr. Lamego left Cercacor in January 2014. Appx000121 (¶ 35); Appx001377.

  After first working for Apple for several months, Dr. Lamego founded True

  Wearables. Appx000122 (¶ 38). At True Wearables, Dr. Lamego worked tirelessly

  to develop the Oxxiom® device, a revolutionary, new pulse oximeter product, from

  scratch. Appx001376-001385; see also Appx003880 (181:17-182:2 (Dr. Lamego’s

  daughter explaining how hard Dr. Lamego worked to develop the Oxxiom® device

  and testifying that “he did not sleep . . . [h]e would work all day”)). The Oxxiom®

  device is an inexpensive, lightweight, disposable pulse oximeter that eliminates the

  need for charging cables and other peripherals and reduces the risk of cross-

  contamination between users. Appx001377. Over several years, Dr. Lamego

  designed the hardware and firmware of the Oxxiom® device, as well as an Oxxiom®

  iOS app to process data collected by the Oxxiom® hardware. Appx001378-001385.

        Dr. Lamego also developed a variety of different mathematical formulas while

  working on his Oxxiom® device. Appx001382-001384. While some aspects of the

  Oxxiom® device were revolutionary, other aspects, such as the need to develop

  equations to determine physiological parameters, were well known to be necessary

  for any such device. In deriving these equations, Dr. Lamego drew upon his

  extensive experience with complex mathematics, particularly that gained during his

  academic studies and in his time teaching mathematics and engineering.


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  Appx001382. According to his Ph.D. thesis advisor at Stanford, Dr. Lamego was

  “unusual in his mastery of electronics, electronic devices and software.”

  Appx001377; Appx003988-003989 (23:14-25:14). Dr. Lamego’s knowledge and

  experience in complex mathematics predated his work for Cercacor and, regardless

  of whether he also relied on it when employed by Cercacor, it belongs only to him.

        After developing the Oxxiom® device, Dr. Lamego sought to protect some

  aspects of the device by filing patent applications. One of the first applications filed

  was Provisional Patent Application No. 62/591,158 (the “’158 Application”).

  Appx000516-000564. The ’158 Application was filed in November of 2017—more

  than 3½ years after Dr. Lamego left Cercacor. Appx000516. Later, True Wearables

  filed other patent applications that claim priority to the ’158 Application, including

  U.S. Application Nos. 16/198,335, 16/198,504, and 16/198,550. E.g., Appx001015-

  001061. On January 11, 2021, the United States Patent and Trademark Office

  (“PTO”) issued a Notice of Allowance for True Wearables’ Patent Application No.

  16/198,335 (the “’335 Application”), which claims priority to the ’158 Application.

  Appx001018 (¶ 1); Appx001063-001074.

        C.     Masimo’s motion for a preliminary injunction

               1.     Masimo filed a motion for preliminary injunction seeking to
                      prevent issuance of True Wearables’ patents.

        On February 18, 2021, Masimo filed a motion for preliminary injunction

  seeking to prevent the ’158 Application from becoming public, Appx001387-
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  001388, which would occur if the ’335 Application were allowed to issue as a U.S.

  Patent. See 37 CFR 1.11(a). Citing analysis from its expert, Dr. McNames, Masimo

  asserted that the specification of the ’158 Application disclosed inter alia the

  adjective TSS equation              2
                                          Appx000392-000393; Appx000450-000465

  (¶¶ 65-124). Notably, Masimo’s expert, Dr. McNames, offered no opinion on

  whether the    adjective TSS equation                 was generally known. See

  Appx000434-000469. Nor did he offer any opinion as to whether the adjective

  TSS equation        is or is not a trade secret. See id. The only declaration that even

  attempted to address whether the adjective TSS equation              was known—the

  declaration of Cercacor employee Jesse Chen—contained only the conclusory

  assertion that he personally was not aware of any publications disclosing it.

  Appx00411 (¶ 29); see also id. (¶¶ 27-28).

        Masimo sought an injunction ordering True Wearables to (1) take all

  necessary steps at the PTO to prevent publication of the ’158 Patent Application and

  any patent application that claims priority to the ’158 Application, including U.S.

  Application Nos. 16/198,335, 16/198,504, and 16/198,550; and (2) not publish and

  to take all necessary steps to prevent publication of any other patent, patent

  application, document, paper, or presentation that discloses the TSS (though none


  2
    Masimo first alleged the adjective TSS equation              was a trade secret on
  October 30, 2020, almost 2 years after it filed this lawsuit and more than 6 months
  after True Wearables produced a copy of the ’158 Application in discovery.
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  were identified). Appx001491-001492. While not acknowledged by Masimo in its

  motion, compliance with the first prong of its requested injunction, which is the only

  prong at issue on this appeal,3 imposed an affirmative obligation on True Wearables

  to delay the issuance of or abandon its patent applications.

               2.     True Wearables presented unrebutted evidence that the
                      adjective TSS equation    was generally known.

        In opposing Masimo’s motion, True Wearables presented unrebutted evidence

  showing that the adjective TSS equation                   is generally known and, therefore,

  not a trade secret. This evidence included the written testimony of True Wearables’

  expert, Dr. Goldstein, Appx003100-003127, who explained that the adjective TSS

  equation          like its adjective     counterpart, was “widely known and widely

  used by the statistics community prior to its alleged appearance in the ’158

  Application.” Appx003103 (¶ 16); see also Appx003110-003121 (¶¶ 34-68).

        More specifically, Dr. Goldstein’s unrebutted testimony explained that the

  TSS equations         are more commonly referred to as equation



  --
  Dr. Goldstein testified that variants of the   -
            or acronym for short. Appx003103 (¶ 16); Appx003107-003110 (¶¶ 26-33).
                                                 acronym
                                                           method have been known since the

  1960s, first appearing in a graduate thesis in 1961. Appx003103 (¶ 16);



  3
   While True Wearables does not concede that the second prong of the injunction is
  appropriate, it has no plans to publish anything that could fall within its scope. As
  such, True Wearables has no reason to challenge the second prong on appeal.
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  Appx003107-003108 (¶ 27).
                                  -Acronym
                                             was generalized to solve broad classes of

  statistical problems in the 1970s and has become commonplace since then, appearing

  “widely in textbooks and papers with thousands of citations each.” Appx003103


                                                                                -
  (¶ 16). Dr. Goldstein identified one well-known publication disclosing acronym the

  textbook McCullagh and Nelder, that has been cited over 39,000 times.

  Appx003107-003108 (¶ 27); see also Appx003125-003126 (¶ 77).

        In support of his testimony that the adjective TSS equation                       was

  generally known, Dr. Goldstein also cited its appearance, in its entirety, in a widely

  read and oft-cited industry publication. Appx003103 (¶ 16); Appx003117-003131



          was disclosed in a 2008 IEEE publication by Name
                                                               -· -
  (¶¶ 57-73). Specifically, Dr. Goldstein explained, the adjective TSS equation


  --■                                                                   & Name (hereinafter


                                                                    -■
                  Name                                                             Name
  “Name       &          ”).4 Appx003126; Appx003149-003152. Name              &          is a

  well-known paper that has been cited more than 1,200 times. Appx003118 (¶ 59).


                                       -■
                                                        Name
  Dr. Goldstein testified that the Name             &          formula is identical to the

  adjective TSS equation                     alleged by Masimo to be a trade secret.

  Appx003121 (¶ 68); see also Appx003117-003121 (¶¶ 57-67).




  4
    To comply with Federal Circuit Rule 25.1(d)(1)(A), the complete citation for this
  publication is not reproduced in this brief as Masimo has asserted that the identity
  of the publication is confidential. The title and complete citation can, however, be
  found at Appx003126, and the publication is at Appx003149-003152.
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            Dr. Goldstein further testified that the “TSS is generally known to persons

  who can obtain economic value from its disclosure.” Appx003101 (¶ 2). Dr.

  Goldstein explained, for example, that he himself is both (a) a person to whom the

  TSS is known and (b) a person who can obtain economic value from its disclosure.

  Id. (“The TSS is commonly known as equation                                   or simply


  -
  acronym
            Consequently, the TSS is generally known to persons who can obtain

  economic value from its disclosure . . . I am such a person.”); see also Appx003130,

  Appx003138 (listing Dr. Goldstein’s work consulting for Masimo’s direct

  competitor, Philips, regarding “algorithms for medical image reconstruction” and

  listing Dr. Goldstein’s presentation titled “What is Compressed Sensing?” at the

  “Biomedical Imaging Institute.”).

            Masimo left all this evidence wholly unrebutted in its reply. Neither Dr.

  McNames nor Mr. Chen submitted a declaration responding to Dr. Goldstein’s


                                            -■
                                                            Name
  analysis. Masimo did not deny that Name               &          publicly disclosed the

  adjective TSS equation              Masimo also did not deny that Dr. Goldstein is a

  person who could obtain economic value from disclosure of the TSS. Nor did

  Masimo dispute that attendees of an IEEE signal processing conference are persons

  who could obtain economic value from the disclosure of the TSS. Masimo instead

  relied solely on attorney argument.




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               3.    True Wearables presented unrebutted evidence that Dr. Lamego
                     derived the formulas in the ’158 Application, including the
                     accused equation           using his general mathematical
                     knowledge and skill.

         True Wearables also presented evidence that Dr. Lamego independently

  derived the Oxxiom® formulas, including the formulas disclosed in the ’158

  Application. Appx001376-001385; see also Appx002241-002250. As described

  above, when developing the Oxxiom® formulas, Dr. Lamego drew upon his

  extensive experience with complex mathematics earned over the course of his career.

  Appx001381-001383. Though various formulas, such as the accused adjective

  TSS equation          were well-known in the industry and contained in industry

  publications, Dr. Lamego relied on his own knowledge of mathematics and derived

  his formulas anew when developing the Oxxiom® device. Id. Masimo also left this

  evidence of independent derivation unrebutted. No evidence was presented

  suggesting Dr. Lamego took any documents or files containing the TSS with him

  when he left Cercacor.

  III.   The District Court’s Preliminary Injunction Order

         The district court denied True Wearables’ request for a hearing and, without

  either oral argument or an evidentiary hearing, granted Masimo’s motion for a

  preliminary injunction on the papers. Appx000019. The district court’s decision

  reflects misunderstandings of the evidentiary record and the legal standards

  applicable to Masimo’s motion.
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        A.     The district court ignored unrebutted record evidence and applied
               an erroneous legal standard in concluding Masimo had shown a
               likelihood of success on the merits.

        Concerning Masimo’s request that the district court enter an injunction aimed

  at preventing publication of the ’158 Application, the district court found only that

  the adjective TSS equation                was present in the ’158 Application.

  Appx000014-000016. The district court stated: “The disclosure of this adjective

  equation         is sufficient for the Court to conclude that the ’158 Patent

  Application discloses the TSS.” Appx000016. The district court made no finding

  that the adjective     equation        or any other aspect of the TSS was present in

  the ’158 Application. Appx000014-000016. Because on appeal True Wearables only

  challenges the injunction against publication of the ’158 Application and its family,

  the discussion herein focuses on the record as it pertains to the adjective TSS

  equation
        In enjoining publication of True Wearables’ patent applications, the district

  court’s order ignores the unrebutted testimony of Dr. Goldstein and states that

  “Defendants fail to argue that the TSS was ‘generally known’ by people who could

  obtain economic value from its use.” Compare Appx000012-000013 with


                                                                     -■
                                                                                    Name
  Appx003101 (¶ 2). The district court’s order further states that Name         &

  presented “information related to, but not the same as, the TSS.” (Compare

  Appx000013 (emphasis added) with Appx003120-003121 (¶ 68). There is no


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  evidentiary support for this finding. Dr. Goldstein, a professor of advanced


                                                                -               ■
                                                                                Name
  mathematics, is qualified to testify that the formula in Name             &           is

  mathematically “equivalent” to the adjective TSS equation             Appx003101-

  003102 (¶¶ 4-13); Appx003120-003121 (¶ 68); Appx003129-003147. His testimony

  is unrebutted. Absent countervailing testimony from any other qualified person, the

  district court clearly erred in rejecting, without explanation, Dr. Goldstein’s

  assessment in favor of its own.

        The order further reflects the district court’s misunderstanding of the

  relevance of True Wearables’ evidence that the adjective TSS equation               was

  published, in its entirety, in a widely read and well-known industry publication.

  Appx000012-000013. Instead of accepting that publication of an alleged trade secret

  can serve as evidence that it is generally known, the district court concluded that

  publication is relevant only to whether an alleged trade secret is readily

  ascertainable—as if those notions were mutually exclusive and not overlapping. Id.


                                                                -■
                                                                               Name
  Accordingly, although the district court acknowledged that Name          &          was

  “published as [a] conference paper[]” and was “not obscure,” the district court

  improperly dismissed those facts to as irrelevant to the determination of whether the

  adjective TSS equation            was generally known. Appx000012 (“At best, the

  article[] could be a basis for determining that the TSS was readily ascertainable.”).

  While the ability to compile information from publicly available sources may


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  indicate that the information is readily ascertainable but not generally known, it is

  equally true that generally known information often appears in printed publications.

  Indeed, the publication of an alleged trade secret in its entirety in a well-read, oft-

  cited industry publication is properly viewed as strong, if not conclusive, evidence

  that the information is generally known.

        The district court’s order also makes the unsupported statement that

  “Defendants do not provide any response to Plaintiffs’ contention that [Dr.] Lamego

  brought the TSS with him after he left his job with Plaintiffs.” Appx000016. But no

  evidence was ever introduced to support any such contention. The only evidence in

  the record concerning the formulas contained in the True Wearables’ patent

  applications is that Dr. Lamego derived them anew over a 3-year period in

  connection with his work on new products for True Wearables. E.g., Appx001015;

  Appx001376-001385.

        B.     The district court erroneously determined that the remaining
               preliminary injunction factors weighed in favor of an injunction.

        In determining that the balance of equities weighed in favor of an injunction,

  the district court also failed to acknowledge the irretrievable loss of patent term the

  injunction would cause. Appx000016-000017. The district court’s assertion that

  “Defendants will not lose protection for the inventions in the patent applications that

  rely on the ’158 Patent Application for priority” is plainly erroneous. Appx000017.

  The life of the True Wearables patents is limited to 20 years from the date of filing
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  of the first non-provisional application to which they claim priority. That priority

  date is fixed as November 21, 2018. Appx001015; Appx001018 (¶ 1). The claims of

  the ’335 Application were allowed on January 21, 2021, Appx001063-001074, and

  the patent would have issued months ago absent the district court’s injunction. Every

  day the injunction is in force is another day permanently eliminated from the life of

  True Wearables’ patents that cannot be recovered. In balancing the equities, the

  district court’s order neither acknowledged nor addressed the impact of this

  permanent and irreversible loss.5 Appx000017.

        Moreover, the district court’s balancing analysis failed to account for the fact

  that the adjective TSS equation            was already published in a widely read and

  oft-cited IEEE article from 2008. Id. Despite this unrebutted evidence, the district

  court asserted Masimo would suffer “hardship” from “Defendants publishing

  Plaintiffs’ trade secrets” and “would lose protection for one of [its] inventions.” Id.




  5
    As further evidence that the district court failed to appreciate the impact of its order
  on True Wearables’ patent term, the district court did not even require Masimo to
  post the bond required by Federal Rule of Civil Procedure 65(c) in connection with
  the entry of the injunction. Appx000019.
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  IV.   The District Court’s Denial of True Wearables’ Motion for
        Reconsideration

        A.     Discovery confirmed publications like the one that disclosed the
               adjective TSS equation           were regularly read and relied
               upon by those in Masimo’s industry.

        After the district court granted Masimo’s requested preliminary injunction,

  True Wearables took the depositions of three witnesses—Mohamed Diab, Jesse

  Chen, and Mathew Paul. These individuals, who are all current or former Masimo

  Corp. or Cercacor employees, testified that IEEE publications are often read and

  relied upon by electrical engineers in the noninvasive monitoring field.

        Mohamed Diab, Masimo Corp.’s co-founder, has a degree in electrical

  engineering from Cal State Fullerton. Appx005222 (16:2-7); Appx005227 (21:2-6).

  Since co-founding Masimo Corp., he has worked in a variety of technical roles,

  including as Masimo Corp.’s Chief Technology Officer. Appx005222-005226

  (16:24-20:3); Appx005231 (25:3-6). Mr. Diab testified that IEEE publications are

  typically read by electrical engineers. Appx005238-005239 (257:11-258:12 (“Q: So

  is IEEE a reference for someone like you, Mr. Diab? A: For an electrical engineer,

  typically they read it.”)). Mr. Diab also confirmed that he referenced IEEE

  publications while developing algorithms at Masimo. Appx005239 (258:16-20).

        Jesse Chen, Cercacor’s principal algorithm engineer, has a degree in electrical

  engineering from UCLA, with a specialization in computer engineering.

  Appx005245 (8:11-18); Appx005247 (10:5-18). Mr. Chen has been employed by
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  Cercacor for almost 12 years. Appx005245 (8:11-14). Mr. Chen testified that he too

  has read IEEE papers, and that he has been reading them more often since 2014.

  Appx005250 (61:11-24). Mr. Chen further testified that colleagues who are working

  on projects together send one another IEEE publications and articles to review.

  Appx005251-005252 (62:20-63:9). He confirmed that IEEE publications can be

  found and downloaded using Google. Appx005252 (63:14-21).

        Mathew Paul has a master’s degree in electrical engineering, with

  specializations in signal processing and computer engineering. Appx005262 (8:9-

  22). Mr. Paul currently works for Apple, Inc., which is Masimo’s direct competitor

  in the noninvasive monitoring industry.6 Appx005269 (15:7-11); Appx005296 (¶ 6).

  Mr. Paul previously worked as an algorithm engineer at Cercacor. Appx005264-

  Appx005265 (10:22-11:8). Mr. Paul testified that IEEE publications are well known

  to engineers. Appx005272 (55:17-21 (“Q: Are IEEE publications well known to

  engineers? A: Yes.”) (objections omitted)). Mr. Paul is very familiar with IEEE

  publications, and he would read IEEE publications “pretty actively” during

  algorithm development while employed at Cercacor. Appx005272-005273 (55:24-




                 -■
  6                            Name
    Although the Name &              publication is in the public domain, Masimo has
  asserted that even the mere identity of the publication is confidential. Appx005640-
  005643. As a result, True Wearables’ counsel could not share this publication with
  non-party deponents like Mr. Paul. It is therefore impossible, under the Protective
  Order applicable in the case, for True Wearables to elicit testimony from Masimo’s

                                -■
                                               Name
  competitors about the specific Name &             article.
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  56:20). Indeed, during Mr. Paul’s employment at Cercacor, the algorithm team,

  which also included Mr. Chen and Dr. Lamego, would refer to IEEE publications to

  get ideas during algorithm development. Appx005273-005274 (56:22-57:14).

        Based on this deposition testimony, True Wearables timely filed a motion for

  reconsideration under Federal Rules of Civil Procedure 59(e) and 60. Appx005206-

  005215. True Wearables asked the district court to reconsider its determination that

  Masimo was likely to meet its burden to prove that the adjective TSS equation


  -       was not generally known to those who could obtain economic value from
                                                                               -
  its disclosure or use. Id. Mohamed Diab, Jesse Chen, and Mathew Paul all testified

  that IEEE publications are generally known to electrical engineers and are

  referenced during research and algorithm development in the noninvasive

  monitoring industry. Appx005210-005213. In addition to Dr. Goldstein’s testimony,

  this evidence further confirms that disclosure of the adjective TSS equation

  in an IEEE publication was sufficient to make the formula generally known to

  persons who could obtain economic value from its disclosure or use. Id.

        B.    Applying an erroneous interpretation of the law, the district court
              denied True Wearables’ motion for reconsideration.

        The district court denied True Wearables’ motion for reconsideration on June

  16, 2021, again on the papers alone. Appx000043-000044. The district court

  acknowledged that it was “familiar with how well known the articles at issue were”


             -■
                          Name
  and that Name       &          had been cited “over 1,200 times.” Appx000043. The
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  district court concluded, however, that such evidence had no bearing on whether the

  information found therein is generally known under the CUTSA. Appx000042.

        The district court’s decision on reconsideration further confirmed the error in

  its application of the legal standard for what is “generally known” under California

  law. Id. Specifically, the district court applied a standard in which “generally

  known” and “readily ascertainable” are mutually exclusive concepts, such that

  evidence of publication of an alleged trade secret formula can be used only to show

  that information is readily ascertainable and cannot be considered at all in

  determining whether such formula is generally known. Id. While the presence of

  information in trade journals, reference books, or published materials surely makes

  that information readily ascertainable, that does not mean that the information is not

  also generally known, either to the public or to those who can obtain economic value

  from the same.

        In the district court’s view, however, evidence of publication is relevant only

  to whether an alleged trade secret is “readily ascertainable.” Id. In purported support

  of this notion, district court cited a legislative comment to the CUTSA that

  “[i]nformation is readily ascertainable if it is available in trade journals, reference

  books, or published materials.” Appx000042 (citing Cal. Civ. Code § 3426.1 (1984

  Legislative Committee Comments)). Relying exclusively on that comment, and

  without citing any supporting cases, the district court concluded that “[s]ince the


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  California legislature intended for information contained in publications like those

  produced by IEEE to be readily ascertainable, Defendants’ argument fails.”

  Appx000043.

        While the district court acknowledged that “readily ascertainable” is an

  affirmative defense to a trade secret claim under California law, it held that the

  defense applies only when a defendant can prove that it in fact ascertained the

  information from the specific publication in question. Appx000042-000043. By

  characterizing publication-related evidence as relevant only to whether an alleged

  trade secret is “readily ascertainable,” the district court wrongly concluded it did not

  need to go any further in its analysis than to state that the “readily ascertainable”

  defense did not apply because Dr. Lamego did not “gain[] knowledge of the TSS

  through the IEEE articles.” Id.

        True Wearables timely appealed.7




  7
    The district court wrongly stated that Fed. R. Civ. P. 59(e) and 60 are inapplicable
  to preliminary injunctions. Appx000041. Under Ninth Circuit law, timely filed
  motions for reconsideration of preliminary injunction decisions are construed as
  Rule 59(e) motions and toll the time to appeal. Vantage Mobility Int’l Ltd. Liab. Co.
  v. Kersey Mobility Ltd. Liab. Co., 836 F. App’x 496, 498 n.2 (9th Cir. 2020); see
  also Regents of the Univ. of Mich. v. Genesearch, L.L.C., 81 F. App’x 335, 337 (Fed.
  Cir. 2003) (explaining that the law of the regional circuit applies to such procedural
  questions not unique to patent law).
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                         SUMMARY OF THE ARGUMENT

        In this appeal, True Wearables challenges the district court’s entry of an

  injunction requiring it to “take all necessary steps before the PTO to prevent

  publication of the ’158 Patent Application and any patent application that claims

  priority to the ’158 Application, including U.S. Application Nos. 16/198,335,

  16/198,504, and 16/198,550.” Appx000018. Though the district court’s injunction

  also included other restrictions on True Wearables’ ability to publish alleged

  Masimo trade secrets, those are not challenged in this appeal because True

  Wearables has not made, and has no intent to make, any such publications, thus

  rendering that portion of the injunction of no consequence. Because the district court

  found only one alleged trade secret present in the specification of the ’158

  Application—the adjective TSS equation                this appeal focuses on the error

  in the district court’s findings and conclusions as to that alleged trade secret and

  leaves the debate over any others for the eventual trial in the underlying action. As

  explained herein, the district court abused its discretion in enjoining publication of

  True Wearables’ ’158 Application for at least three reasons.

        First, the district court erred in determining Masimo was likely to succeed in

  proving the adjective TSS equation             is its trade secret under the CUTSA.

  The burden of proving the adjective TSS equation                   is a trade secret,

  including the burden of proving the formula is not “generally known,” rests with


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  Masimo. To that end, Masimo’s only evidence was the declaration of Mr. Chen, who

  stated only that he was “not aware of any publications” that included or described

  the alleged trade secret. Appx00411 (¶ 29). In response, True Wearables presented

  the expert testimony of Dr. Goldstein that the alleged trade secret not only was

  generally known, but also had been the subject of numerous publications since the

  1960s. Appx003103 (¶ 16); Appx003117-003131 (¶¶ 57-73). One such publication,


      -■
                     Name
  the Name       &          IEEE article, which Dr. Goldstein confirmed contained the

  complete, identical formula to the alleged trade secret formula, has been cited by

  others more than 1,200 times since 2008. Id. The district court erred as a matter of

  law in deeming this unrebutted evidence irrelevant to the determination of whether

  the adjective TSS equation             is a trade secret.

        Second, the district court erred in determining Masimo was likely to succeed

  on the merits of proving Dr. Lamego misappropriated the adjective TSS equation


  -                                                                             -
           The district court based its holding on the clearly erroneous statement that

  True Wearables did not “provide any response to Plaintiffs’ contention that [Dr.]

  Lamego brought the TSS with him.” Appx000016. While Masimo’s motion alleged

  the adjective TSS equation                was present in the True Wearables ’158

  Application, it did not present any evidence that Dr. Lamego took the adjective

  TSS equation


  -       is a mathematical equation. The only evidence of record addressing Dr.
                                                                                -
                        with him when he left Cercacor. The adjective TSS equation




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  Lamego’s development of the equations contained in the ’158 Application is that he

  independently derived them over a three-year period after leaving Cercacor relying

  on his own mathematical knowledge and training. The burden of showing

  misappropriation rested with Masimo. The district court erred in holding Masimo

  was likely to meet it.

        Third, the district court erred in determining the balance of equities weighed

  in Masimo’s favor. As an initial matter, the district court’s opinion wholly ignores

  the impact of its injunction on True Wearables. By being forced to delay issuance of

  its patents, the claims of which had been allowed by the PTO, to prevent publication

  of the ’158 Application, True Wearables suffers the irretrievable loss of an ever-

  increasing portion of its patent term. Moreover, in considering Masimo’s hardship

  claims, the district court failed to address how Masimo can be deemed to suffer

  hardship by the publication of a patent application alleged to contain the adjective

  TSS equation             when that formula is already available in a widely distributed

  and oft-cited IEEE publication. The district court abused its discretion in concluding

  the balance of equities weighed in favor of enjoining publication of the ’158

  Application.

        The district court also erred in denying True Wearables’ motion for

  reconsideration. In that motion, True Wearables demonstrated that the district court

  erred in determining that Masimo was likely to succeed in proving the adjective


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  TSS equation           is a trade secret. Combined with the evidence presented in

  response to Masimo’s preliminary injunction motion, the additional evidence that

  IEEE publications of the sort containing the adjective TSS equation                were

  frequently read, reviewed, and relied upon by engineers in the industry confirmed

  that the district court abused its discretion in enjoining publication of the ’158

  Application.

        For all the reasons set forth herein, the district court’s order granting

  Masimo’s motion for a preliminary injunction against publication of the ’158

  Application, and the district court’s order denying True Wearables’ motion for

  reconsideration of the same, should be reversed.

                                      ARGUMENT

   I.   Standard of Review

        Preliminary injunctions are reviewed under the abuse of discretion standard.

  Takeda Pharm. U.S.A., Inc. v. Mylan Pharm. Inc., 967 F.3d 1339, 1345 (Fed. Cir.

  2020); Flexible Lifeline Sys., Inc., v. Precision Lift, Inc., 654 F.3d 989, 994 (9th Cir.

  2011). Under that standard, the district court’s legal rulings are reviewed de novo,

  and its findings of fact are reviewed for clear error. Takeda Pharm. U.S.A., 967 F.3d

  at 1345; Flexible Lifeline Sys., 654 F.3d at 994. Decisions on motions for

  reconsideration under either Rule 59(e) or Rule 60 are also reviewed for an abuse of

  discretion. Sch. Dist. No. 1J, Multnomah Cty., Or. v. ACandS, Inc., 5 F.3d 1255,


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  1262 (9th Cir. 1993); see also Henson v. Corizon Health, Inc., 804 F. App’x 842,

  842 (9th Cir. 2020).

        The abuse of discretion standard employs a two-part test. First, the appellate

  court must “determine de novo whether the trial court identified the correct legal rule

  to apply to the relief requested.” United States v. Hinkson, 585 F.3d 1247, 1262 (9th

  Cir. 2009) (en banc). The court abuses its discretion if it fails to do so. Id. Second,

  the appellate court must “determine whether the trial court’s application of the

  correct legal standard was (1) illogical, (2) implausible, or (3) without support in

  inferences that may be drawn from the facts in the record.” Id. (internal quotations

  omitted).

  II.   The District Court Erred in Granting a Preliminary Injunction
        Requiring True Wearables to Prevent the ’158 Application, and Its
        Family, from Publishing.

        A preliminary injunction is an “extraordinary and drastic remedy.” Munaf v.

  Geren, 553 U.S. 674, 689 (2008). To merit the entry of a preliminary injunction, the

  moving party must make a “clear showing” on each of the following elements:

  (1) likelihood of success on the merits, (2) likelihood of irreparable injury to the

  plaintiff if injunctive relief is not granted, (3) balance of hardships favoring the

  plaintiff, and (4) advancement of the public interest. Winter v. Natural Res. Def.

  Council, Inc., 555 U.S. 7, 20, 22 (2008).




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        The portion of the preliminary injunction challenged on this appeal requires

  True Wearables to “take all necessary steps” to prevent publication of the ’158

  Application and any patent application that claims priority to the ’158 Application.

  Appx000018. As such, it is mandatory, not prohibitory. Marlyn Nutraceuticals, Inc.

  v. Mucos Pharma GmbH & Co., 571 F.3d 873, 878-79 (9th Cir. 2009). Mandatory

  injunctions are “particularly disfavored,” Garcia v. Google, Inc., 786 F.3d 733, 740

  (9th Cir. 2015), and “are not granted unless extreme or very serious damage will

  result,” Marlyn Nutraceuticals, 571 F.3d at 879.

        A.     The district court erred in determining Masimo met its burden of
               proving a likelihood of success on the merits.

        Likelihood of success on the merits is the “most important” factor in

  considering whether to grant a preliminary injunction. Garcia, 786 F.3d at 740. In

  cases involving mandatory injunctions, such as the one challenged in the present

  appeal, Masimo’s “doubly demanding” burden is to “establish that the law and facts

  clearly favor [its] position, not simply that [it] is likely to succeed.” Id. (emphasis in

  original). To succeed on its CUTSA claim, Masimo has the burden to prove (1) the

  existence and ownership of a trade secret, (2) misappropriation of the trade secret,

  and (3) damage resulting from the misappropriation. Sargent Fletcher, Inc. v. Able

  Corp., 110 Cal. App. 4th 1658, 1665 (Cal. Ct. App. 2003); see also Cal. Civ. Code

  § 3426.1. In this case, the district court abused its discretion in determining Masimo



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  was likely to succeed in proving (1) that the adjective TSS equation              is a

  trade secret and (2) that Dr. Lamego misappropriated it.

               1.

                     ---------
                     The district court erred as a matter of law in determining Masimo
                     was likely to succeed in proving the adjective TSS equation
                               is a trade secret; under the proper legal standard,
                     Masimo cannot meet its burden.

        To prove the adjective TSS equation             is protectable as a trade secret

  under the CUTSA, Masimo had the burden to prove that it “[d]erives independent

  economic value . . . from not being generally known to the public or to other persons

  who can obtain economic value from its disclosure or use.” Cal. Civ. Code

  § 3426.1(d)(1) (emphasis added); Amgen Inc. v. Cal. Corr. Health Care Servs., 47

  Cal. App. 5th 716, 736 (Cal. Ct. App. 2020) (same). “The language ‘not being

  generally known to the public or to other persons’ does not require that information

  be generally known to the public for trade secret rights to be lost. If the principal

  person who can obtain economic benefit from information is aware of it, there is no

  trade secret.” Cal. Civ. Code § 3426.1 (1984 Legislative Committee Comments); see

  also Syngenta Crop Prot., Inc. v. Helliker, 138 Cal. App. 4th 1135, 1172 (Cal. Ct.

  App. 2006) (explaining that the CUTSA test is whether the information is generally

  known “by business competitors or others to whom the information would have

  some economic value”) (emphasis added).

        In interpreting the CUTSA, this Court has held that published information is

  considered “generally known” and is no longer entitled to trade secret protection.
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  See Ultimax Cement Mfg. Corp. v. CTS Cement Mfg. Corp., 587 F.3d 1339, 1355-

  56 (Fed. Cir. 2009) (affirming district court’s grant of summary judgment of no trade

  secret misappropriation under the CUTSA where the alleged trade secret was

  disclosed in a Japanese patent application); Convolve, Inc. v. Compaq Comput.

  Corp., No. 00 Civ. 5141, 2011 U.S. Dist. LEXIS 152762, at *34 (S.D.N.Y. Aug. 16,

  2011) (holding information disclosed in two academic theses was “generally known”

  under the CUTSA and not entitled to trade secret protection), aff’d in relevant part,

  527 F. App’x 910, 922 (Fed. Cir. 2013). “Once the information is in the public

  domain and the element of secrecy is gone, the trade secret is extinguished.” Ultimax

  Cement Mfg., 587 F.3d at 1355.

        Other decisions are in accord, holding that publication of an alleged trade

  secret renders it “generally known” and, therefore, ineligible for trade secret

  protection under California law. See, e.g., Attia v. Google LLC, 983 F.3d 420, 426

  (9th Cir. 2020) (“[I]t appears to us to be well-settled that publication of information

  in a patent application eliminates any trade secrecy.”); Masimo Corp. v. Sotera

  Wireless, Inc., 794 F. App’x 625, 627-28 (9th Cir. 2020) (affirming lower court’s

  finding the alleged trade secret was generally known under the CUTSA because it

  was published in a white paper and an article in a trade journal); Forcier v. Microsoft

  Corp., 123 F. Supp. 2d 520, 528 (N.D. Cal. 2000) (granting summary judgment of

  no misappropriation on CUTSA claim where alleged trade secret was published in


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  patents and patent applications: “It is undisputed that all of Forcier’s alleged trade

  secrets had been placed in the public domain either in patents or in patent

  applications . . . .”).



                                                                                 -
                        a.   The district court applied an incorrect legal standard to


                             -
                             its determination of whether the adjective TSS equation
                                      was generally known.

         In issuing the preliminary injunction against publication of the ’158

  Application, the district court rejected the holdings in the aforementioned cases and

  applied its own, incorrect legal standard for determining whether information is

  “generally known.” Specifically, the district court’s decision improperly deemed

  evidence of publication of the alleged trade secret irrelevant as a matter of law to

  whether it is “generally known” under the CUTSA. Appx000012-000013. In the

  district court’s view, evidence of publication of an alleged trade secret is relevant

  only to whether it is “readily ascertainable,” and has no bearing on whether it also is

  generally known:


                                                 -■
                                                              Name
         While both of these articles [including Name &           ] are published
         as conference papers, meaning that they are not obscure, this does not
         mean that the particular techniques described in them were “generally
         known” to people who could obtain economic value from developing
         noninvasive blood content detectors. At best, the articles could be a
         basis for determining that the TSS was “readily ascertainable.” See
         West’s Ann. Cal. Civ. Code § 3426.1 (1984 Legislative Committee
         Comments) (“Information is readily ascertainable if it is available in
         trade journals, reference books, or published materials.”).




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  Appx000012 (emphasis added). While the district court further acknowledged that

  ready ascertainability remains an affirmative defense to a CUTSA claim, it held that

  the defense applies only where the defendant proves it acquired the alleged trade

  secret from a public source.8 Appx000011.

        The district court’s conclusion that evidence of publication of the adjective

  TSS equation          is “at best” a basis for determining that the formula was readily

  ascertainable misconstrues the CUTSA. Specifically, the district court appears to

  misunderstand the legislative comment to the CUTSA that “[i]nformation is readily

  ascertainable if it is available in trade journals, reference books, or published

  materials.” See Cal. Civ. Code § 3426.1 (1984 Legislative Committee Comments).

  While information contained in such sources certainly is readily ascertainable, that


  8
   While not central to the present appeal, the district court is also wrong on this point.
  The Legislative Committee Comments to the CUTSA explain that “the assertion that
  a matter is readily ascertainable by proper means remains available as a defense to a
  claim of misappropriation.” Cal. Civ. Code § 3426.1 (1984 Legislative Committee
  Comments). Under the district court’s interpretation, ready ascertainability would
  not be a defense at all. Instead, the district court’s interpretation would do away with
  an element of the plaintiff’s prima facie case of misappropriation, namely the need
  to prove the defendant’s “acquisition [of the trade secret] . . . by improper means.”
  Cal. Civ. Code § 3426.1(b). This is a traverse, not an affirmative defense. See 5
  Witkin, Cal. Proc. Plead § 1081 (5th ed. 2020); see also, e.g., Walsh v. W. Valley
  Mission Cmty. Coll. Dist., 66 Cal. App. 4th 1532, 1546 (Cal. Ct. App. 1998) (same);
  and Judicial Council of Cal. Civ. Jury Instructions (CACI) No. 4420 (2009) (“Such
  a requirement would not constitute an affirmative defense but rather would be a
  denial of the improper-means element of the plaintiff’s claim. Because the advisory
  committee believes that this is an affirmative defense, no such requirement has been
  included in this instruction.”).

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  does not mean that information that has been published cannot also be generally

  known. The California legislature eliminated the “readily ascertainable” language

  from the CUTSA to remove language it deemed ambiguous, not to preclude the use

  of publications as evidence that a trade secret is generally known. See Cal. Civ. Code

  § 3426.1 (1984 Legislative Committee Comments) (“This change was made because

  the original language was viewed as ambiguous in the definition of trade secret.”).

  The Legislative Committee Comments never suggested that the mere fact that

  something is published means that it is not also generally known. New information

  is often published for the express purpose of disseminating it and making it generally

  known. And publications often contain within them old information that already is

  generally known. Indeed, display in a single publication of an alleged trade secret in

  its entirety is properly viewed as conclusive evidence that it is “generally known.”

  See Ultimax Cement Mfg., 587 F.3d at 1355-56 (“Information disclosed in a patent,

  even a foreign one, is ‘generally known to the public,’ especially the relevant public

  in the cement industry.”); see also Attia, 983 F.3d at 426; Masimo, 794 F. App’x at

  627-28; Convolve, 2011 U.S. Dist. LEXIS 152762, at *34, aff’d in relevant part, 527

  F. App’x at 922.

        The notion of ready ascertainability, on the other hand, traditionally relates to

  situations where the alleged trade secret is a compilation of information that a

  defendant alleges can be re-created by combining multiple publications or by culling


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  information from voluminous public directories. See, e.g., Morlife, Inc. v. Perry, 56

  Cal. App. 4th 1514, 1521-22 (Cal. Ct. App. 1997); ABBA Rubber Co. v. Seaquist,

  235 Cal. App. 3d 1, 21 (Cal. Ct. App. 1991). Challenges to trade secret protection

  for customer lists, for example, are often founded on assertions that the information

  contained in such lists is “readily ascertainable” from public sources. Morlife, 56

  Cal. App. 4th at 1521-22 (“With respect to the general availability of customer

  information, courts are reluctant to protect customer lists to the extent they embody

  information which is ‘readily ascertainable’ through public sources, such as business

  directories.”); see also Pollara v. Radiant Logistics Inc., No. CV 12-344 GAF

  (JEMx), 2014 U.S. Dist. LEXIS 200944, at *16-17 (C.D. Cal. June 6, 2014). The

  notion of ready ascertainability need not come into play where the entirety of the

  alleged trade secret has been published in a single, non-obscure IEEE article,

  particularly when the audience for that article includes persons who could obtain

  economic value from its disclosure or use. Such information is properly considered

  as generally known.

        The district court’s treatment of evidence concerning publication of the

  alleged trade secret, and expert testimony concerning the same, as irrelevant to

  whether the alleged trade secret is “generally known” begs the question of how a

  defendant in a trade secret case could ever prove the requisite knowledge.

  Information alleged to be a trade secret is seldom the type of information known to


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  laypersons or judges. No survey of skilled engineers working in the relevant

  technical fields can be taken because the Protective Order prevents True Wearables

  from asking non-parties about their knowledge of anything Masimo alleges to be a

  trade secret, as the question itself would necessarily disclose the alleged trade secret.

  Indeed, counsel for True Wearables could not even share the identity of the alleged


                       -■
                                       Name
  trade secret or the Name         &          publication with Dr. Lamego in defending

  against Masimo’s preliminary injunction motion. Appx005640-005643. Without the

  ability to refer to public sources of information, and expert testimony concerning the

  same, the bar set by the district court to establish that an alleged trade secret is

  generally known is one that is seemingly impossible to meet.

        In holding that evidence of publication of an alleged trade secret is “at best” a

  basis for determining it was readily ascertainable, the district court applied an

  incorrect legal standard to its determination that Masimo was likely to succeed in

  proving the adjective TSS equation                is a trade secret.

                      b.     Applying the correct legal standard, the record cannot
                             support the district court’s determination.

        When the proper legal standard is applied, Masimo cannot meet its burden to

  prove that the adjective TSS equation                 is not “generally known.” A trade

  secret plaintiff bears the burden to show a protectable trade secret. While the burden

  of production shifts to the defendant once the plaintiff has made a prima facie case,

  “[t]he burden of proof (which is synonymous with the burden of persuasion) . . .
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  remains with [the plaintiff] at all times.” Bladeroom Grp. Ltd. v. Emerson Elec. Co,

  No. 5:15-cv-01370-EJD, 2018 U.S. Dist. LEXIS 64695, at *6 (N.D. Cal. Apr. 16,

  2018) (citing Sargent Fletcher, 110 Cal. App. 4th at 1667). The district court

  improperly shifted the burden of proof by requiring True Wearables to prove that

  the adjective TSS equation          was generally known. See Amgen, 47 Cal. App.

  5th at 736. When the correct burden of proof is applied, Masimo cannot show that

  the adjective TSS equation          is not generally known.

        Masimo’s only evidence that the adjective TSS equation                 is not

  generally known is the testimony of a single employee, Mr. Chen, who did not even

  state that it was not generally known. Mr. Chen stated only that he was “not aware

  of any publications that include the derivations found in the equation           or

  describe an implementation of the equation             ” Appx00411 (¶ 29); see also

  id. (¶¶ 27-28). Even assuming such a bare, conclusory assertion about a single

  employee’s personal knowledge could satisfy Masimo’s burden of making a prima

  facie case that the adjective TSS equation            is -
                                                           not
                                                             - generally known, Mr.

  Chen’s statements were made before the presentation of True Wearables’ evidence.

        The evidence presented by True Wearables demonstrated that the adjective

  TSS equation        was generally known to persons who can obtain economic value

  from its disclosure. Appx003101 (¶¶ 2-3); Appx003103 (¶ 16); Appx003117-

  003121 (¶¶ 57-68); Appx003149-003152. As an initial matter, it was published in


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  its entirety in an IEEE publication, Name
                                              -·            & Name that has been cited over 1,200

  times since its initial publication in 2008. Appx003118 (¶ 59); Appx003120-003121

  (¶ 68); Appx003149-003152. While the general public may not frequent the pages

  of IEEE journals, the same cannot be said of the 400,000 engineers who are members

  of IEEE, many of whom are likely employed by Masimo or by Masimo’s

  competitors. As the district court acknowledged, this publication was “not obscure.”

  Appx000012.


                                                                               -■
                                                                                              Name
            Moreover, True Wearables’ evidence went beyond the Name                       &

  publication. As Dr. Goldstein explained, the concept of using equations                to solve

  optimization problems has been widely known since the 1960s and has appeared in

  numerous math textbooks since then. Appx003103 (¶ 16 (“[T]he equation


  --
  acronym
              is commonly known as equation

            for short. Variants of the
                                         -
                                         acronym
                                                                                       or simply

                                                   method have been known since the early 1960s,

  and
     -  acronym
                  appears widely in textbooks.”)); Appx003107-003108 (¶ 27 (“In

  particular, the method is featured prominently in McCullagh and Nelder’s 1983 book

  on statistical regression models (McCullagh, 1983), which has been cited over

  39,000 times according to Google Scholar.”)). Based on these publications, and his

  own knowledge and expertise, Dr. Goldstein testified that the adjective TSS

  equation            “is generally known to persons who can obtain economic value from

  its disclosure.” Appx003101 (¶ 2); see also Appx003118 (¶ 59); Appx003120-


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  003121 (¶ 68). In fact, Dr. Goldstein attested that he himself is such a person and

  that he knew the information. Appx003101 (¶ 2); Appx003130; Appx003138.


                                   -■
                                                  Name
        Masimo did not deny that Name         &          publicly disclosed the adjective

  TSS equation           which is the only portion of the TSS that the district court

  determined was present in True Wearables’ ’158 Application. Appx000013-000015.

  Masimo also did not deny that Dr. Goldstein is a person who could obtain economic

  value from disclosure of the adjective TSS equation                   Nor did Masimo

  dispute that attendees of an IEEE signal processing conference are persons who

  could obtain economic value from the disclosure of the adjective TSS equation


  -         Notably, Masimo’s expert, Dr. McNames, never offered any opinion
                                                                                  -
  regarding whether the TSS equations            are generally known. Dr. McNames is

  himself an active member of IEEE, who has presented at IEEE conferences, and his

  silence on this issue speaks volumes. Appx000436-000437 (¶¶ 10-15).

        Indeed, neither Dr. McNames nor Mr. Chen submitted a declaration

  responding to Dr. Goldstein’s analysis. Masimo offered only attorney argument

  asserting that True Wearables’ evidence was insufficient to demonstrate that the

  adjective TSS equation            is “generally known.” In fact, it is this attempted

  rebuttal that is insufficient. Invitrogen Corp. v. Clontech Labs., Inc., 429 F.3d 1052,

  1068 (Fed. Cir. 2005) (“Unsubstantiated attorney argument regarding the meaning

  of technical evidence is no substitute for competent, substantiated expert


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  testimony.”). It was Masimo’s burden to establish that the adjective TSS equation


  -        is not generally known, not True Wearables’ burden to prove that it is.
                                                                                   -
        The evidence of record, considered under the correct legal standard, cannot

  support a finding that Masimo is likely to succeed in proving the adjective TSS

  equation          is a trade secret under the CUTSA. The district court’s contrary

  conclusion reflects an abuse of discretion and, on that basis alone, the district court’s

  grant of an injunction requiring True Wearables to prevent publication of the ’158

  Application and its family should be reversed.

               2.

                      ------
                      The district court erred in determining Masimo was likely to
                      succeed in proving misappropriation of the adjective TSS
                      equation
        A defendant misappropriates a trade secret if it acquires, discloses, or uses a

  trade secret by improper means. Cal. Civ. Code § 3426.1(a). California law and

  policy strongly favors employee mobility. Therefore, an employee’s knowledge

  “developed as a result of long employment in the particular trade may be carried

  over and put to use by the new employer.” Universal Analytics, Inc. v. MacNeal-

  Schwendler Corp., 707 F. Supp. 1170, 1177-78 (C.D. Cal. 1989), aff’d, 914 F.2d

  1256 (9th Cir. 1990); see also, e.g., Hooked Media Grp., Inc. v. Apple Inc., 55 Cal.

  App. 5th 323, 332-33 (Cal. Ct. App. 2020) (“That evidence does suggest the

  engineers drew on knowledge and skills they gained from Hooked to develop a




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  product for their new employer—but California’s policy favoring free mobility for

  employees specifically allows that.”).

        Similarly, employees may use their knowledge and skills to solve problems

  they have previously solved for a former employer relying on the same underlying

  knowledge and skills; this is independent derivation, and it is expressly permitted

  under the CUTSA. Sargent Fletcher, 110 Cal. App. 4th at 1670 (“Evidence of

  independent derivation . . . directly refutes the element of use through improper

  means.”); see also Cal. Civ. Code § 3426.1. “Proof that defendant’s use resulted

  from independent derivation . . . is evidence that there was no improper use on its

  part.” Sargent Fletcher, 110 Cal. App. 4th at 1669; see also Masimo Corp. v. Sotera

  Wireless, Inc., 591 B.R. 453, 461 (S.D. Cal. 2018), aff’d, 794 F. App’x 625, 627-28

  (9th Cir. 2020) (same); GSI Tech., Inc. v. United Memories, Inc., No. 5:13-cv-01081-

  PSG, 2015 U.S. Dist. LEXIS 129568, at *17-19 (N.D. Cal. Sep. 21, 2015) (same);

  see also Raytheon Co. v. Indigo Sys. Corp., 895 F.3d 1333, 1342 (Fed. Cir. 2018).

        The burden of showing misappropriation rests with Masimo. Sargent

  Fletcher, 110 Cal. App. 4th at 1667. Masimo presented no evidence that Dr. Lamego

  took the TSS with him when he left Cercacor. Rather, Masimo’s allegation of

  misappropriation rests solely on the assertions that (1) Dr. Lamego derived the

  adjective TSS equation             relying on his own knowledge and experience,

  while employed by Cercacor, and (2) a formula equivalent to the adjective TSS


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  equation        allegedly appears in the specification of the ’158 Application. But

  Dr. Lamego’s reliance on his own knowledge and experience to derive the accused

  formula while at True Wearables does not constitute misappropriation. See

  Raytheon, 895 F.3d at 1342; Sargent Fletcher, 110 Cal. App. 4th at 1670. Even if

  Dr. Lamego had drawn on knowledge and skills gained while working for Cercacor,

  California’s policy favoring free mobility for employees specifically allows that.

  Hooked Media Grp., 55 Cal. App. 5th at 332-33.

        Here, the only evidence of record concerning the development of the accused

  formula displayed in the ’158 Application is that it was the product of independent

  derivation by Dr. Lamego over several years of intense research and development.

  Appx001382-001384. Dr. Lamego’s experience independently solving complex

  problems using sophisticated hardware and software solutions dates back at least to

  his time as a Stanford Ph.D. student studying electrical and electronics engineering.

  Appx001377; see also Appx001378-001382. According to Dr. Bernard Widrow, Dr.

  Lamego’s Ph.D. thesis advisor at Stanford, Dr. Lamego was “unusual in his mastery

  of electronics, electronic devices and software.” Appx001377; Appx003988-003989

  (23:14-25:14). Dr. Lamego utilized this knowledge of electronics and engineering

  and designed the hardware and firmware of the Oxxiom® device and an Oxxiom®

  iOS app used to process the data collected by the Oxxiom® hardware. Appx001378-

  001382. At the same time, Dr. Lamego began developing formulas for determining


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  standard physiological parameters. Appx001382-001384. For this, Dr. Lamego drew

  upon his extensive experience with complex mathematics earned over the course of

  his career, including experience as a professor of mathematics and engineering. Id.

        Despite this evidence of Dr. Lamego’s independent derivation of the accused

  formula, and the absence of any evidence that Dr. Lamego took the TSS with him

  when he left Cercacor, the district court nevertheless stated: “Defendants do not

  provide any response to Plaintiffs’ contention that [Dr.] Lamego brought the TSS

  with him after he left his job with Plaintiffs.” Appx000016. The district court then

  relied on that statement to support its conclusion that Masimo was likely to succeed

  in proving misappropriation. Id. But Masimo never presented such evidence

  (because there is none), so there was nothing to merit a response from True

  Wearables. The district court abused its discretion in drawing that conclusion as it is

  contradicted by the record.

        B.     The district court erred in determining Masimo met its burden of
               demonstrating the balance of equities favored entry of the
               preliminary injunction.

               1.     The district court plainly erred in its determination that the
                      injunction against publication of the ’158 Application imposed
                      no hardship on True Wearables.

        A patent granted by the United States is a property right. Fla. Prepaid

  Postsecondary Educ. Expense Bd. v. Coll. Sav. Bank, 527 U.S. 627, 642 (1999); see

  also Cascades Projection LLC v. Epson Am., Inc., 864 F.3d 1309, 1316-17 (Fed.


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  Cir. 2017) (Reyna, J., dissenting). In finding that the balance of equities favored

  Masimo, the district court concluded that “Defendants will not lose protection for

  the inventions in the patent applications that rely on the ’158 Patent Application for

  priority if the preliminary injunction is granted.” Appx000017. That statement is

  plainly incorrect. While True Wearables may not lose patent scope due to the

  injunction, it has lost and will continue to lose patent term, which directly impairs

  its property rights. True Wearables’ loss of a portion of its patent term due to the

  preliminary injunction is a heavy burden for True Wearables to bear. Moreover, in

  view of the difficulty in quantifying the value of that lost period of exclusivity and

  the fact that the district court did not require Masimo to post a bond, it is unlikely

  this hardship is one for which True Wearables can ever be adequately compensated.

        The length of a patent’s term is 20 years measured from the patent’s earliest

  effective non-provisional filing date. Chudik v. Hirshfeld, 987 F.3d 1033, 1035 (Fed.

  Cir. 2021) (“In 1994, Congress changed the length of a patent term from 17 years

  (measured from the patent’s issue date) to 20 years (measured from the patent’s

  earliest effective non-provisional-filing date).”). By statute, the PTO may only grant

  patent term extensions for three reasons, all of which are tied to the PTO’s own delay

  during prosecution. See 35 U.S.C. § 154(b)(1)(A)-(C). None of these apply here.

        The portion of the district court’s mandatory injunction at issue on appeal

  requires True Wearables to: “take all necessary steps before the PTO to prevent


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  publication of the ’158 Application and any patent application that claims priority to

  the ’158 Application, including U.S. Application Nos. 16/198,335, 16/198,504, and

  16/198,550 . . . .” Appx000018. If it does not wish to completely abandon its patent

  applications that claim priority to the ’158 Application, True Wearables will be

  required to file serial requests for continuing examination, or repeatedly file

  continuations and abandon any allowed applications, until the injunction is lifted.

  The applications have received notices of allowance and, but for the district court’s

  preliminary injunction, would already have issued. E.g., Appx001063-001074.

  Delaying issuance until after trial deprives True Wearables of an irretrievable

  portion of its property right in its patents. The district court’s finding that the

  preliminary injunction imposes no hardship on True Wearables is plainly erroneous.

               2.    The district court erred in its determination that Masimo would
                     be harmed by the publication of the ’158 Application.

        The district court also erred in determining the balance of hardships favors

  Masimo because “[p]ublication of the ’158 Patent Application risks Plaintiffs’ trade

  secret becoming public.” Appx000017. The district court acknowledged the

  adjective TSS equation             was already published in a non-obscure IEEE

  publication. Appx000012. The district court does not explain how allowing the same

  equation to publish in True Wearables’ ’158 Application somehow imposes a

  hardship on Masimo.



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         This is not a situation where an injunction is needed to preserve the status quo.

  Here, the status quo is that the adjective TSS equation               was published in


          -·
  2008 in Name        & Name which itself has since been cited by others more than 1,200

  times. Appx003118 (¶ 59); Appx003120-003121 (¶ 68). Allowing True Wearables’

  ’158 Application, which only discloses the adjective TSS equation                    to

  publish would not cause the adjective TSS equation               to become any more a

  part of the public domain than it already is. See Amgen, 47 Cal. App. 5th at 723, 742-

  43 (finding district court abused its discretion in determining the balance of

  hardships weighed in favor of the plaintiff where the alleged trade secret was

  publicly disclosed: “Given Amgen’s failure to show its price increase information

  was still a trade secret after disclosure to the registered purchasers, we further

  conclude that the trial court abused its discretion in finding that the balance of harms

  favored Amgen.”). On these facts, the district court’s finding that the balance of

  equities weighed in favor of Masimo was clearly erroneous.

  III.   The District Court Abused Its Discretion in Denying True Wearables’
         Motion for Reconsideration.

         The district court also erred in denying True Wearables’ motion for

  reconsideration. “Reconsideration is appropriate if the district court (1) is presented

  with newly discovered evidence, (2) committed clear error or the initial decision was

  manifestly unjust, or (3) if there is an intervening change in controlling law.” Sch.

  Dist. No. 1J, 5 F.3d at 1263. After the district court granted Masimo its requested
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  preliminary injunction, newly discovered evidence confirmed that IEEE

  publications, like the one in which the adjective TSS equation          appears, are

  regularly reviewed and referenced by electrical engineers working in the field of

  noninvasive monitoring.

        In its motion for reconsideration, True Wearables submitted the newly

  obtained deposition testimony of three current or former Masimo Corp. or Cercacor

  employees, Mohamed Diab, Jesse Chen, and Mathew Paul, all of whom are or were

  engineers in the noninvasive monitoring industry. Appx005206-005215. The

  deposition testimony of Messrs. Diab, Chen, and Paul confirmed that IEEE

  publications are regularly reviewed by electrical engineers working in that industry.

  Appx005238-005239 (257:11-258:12); Appx005245 (8:11-18); Appx005247 (10:5-

  18); Appx005250 (61:11-24); Appx005269 (15:7-11); Appx005272 (55:17-21).

  Their testimony also confirmed that they actively referred to IEEE publications

  while developing algorithms for Cercacor. Appx005239 (258:9-20); Appx005251-

  005252 (62:20-63:9); Appx005272-005274 (55:24-57:14). This evidence further

  confirmed the error in the original preliminary injunction order, which was premised

  on the district court’s conclusion that the information contained within IEEE


                       -·
  publications, such as Name      & Name is not generally known to persons who can

  obtain economic value from the use or disclosure of that information.




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        Despite this testimony, the district court determined that the motion for

  reconsideration “d[id] not raise any new material facts that justify reconsideration”

  and denied the motion. Appx000043. In reaching this conclusion, the district court

  again applied its problematic and legally erroneous interpretation of the CUTSA—

  one that creates a strict dichotomy between the notions of “generally known” and

  “readily ascertainable” and prevents information published in journals from ever

  being “generally known.” Appx000042-000043. Specifically, the district court

  stated: “Defendants do not account for the CUTSA’s legislative comment that

  ‘[i]nformation is readily ascertainable if it is available in trade journals, reference

  books, or published materials’” and that “[s]ince the California legislature intended

  for information contained in publications like those produced by IEEE to be readily

  ascertainable, Defendants’ argument fails.” Appx000042 (citing Cal. Civ. Code

  § 3426.1 (1984 Legislative Committee Comments)); Appx000043. The district

  court’s attempt to eliminate any overlap between information that appears in printed

  publications and information that is generally known misconstrues the CUTSA.

        As explained supra at Section II.A.1, an alleged trade secret that is published

  in its entirety in a single, non-obscure source, such as a patent or an industry

  publication, -is considered “generally known” under the CUTSA. Ultimax Cement

  Mfg., 587 F.3d at 1355; see also Masimo, 794 F. App’x at 627-28; Convolve, 2011

  U.S. Dist. LEXIS 152762, at *34, aff’d in relevant part, 527 F. App’x at 922. Neither


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  Masimo, nor the district court, has ever identified a single case decided under the

  CUTSA where a formula that has been printed in its entirety in a non-obscure

  industry publication was found to be a trade secret; that is because there is none.

        Had the district court applied the correct legal standard to the newly

  discovered testimony from Messrs. Diab, Chen, and Paul, it would have had no basis

  to conclude that Masimo was likely to succeed in proving the adjective TSS

  equation        protectable as a trade secret under the CUTSA. The district court

  abused its discretion in denying True Wearables’ motion for reconsideration.

                                    CONCLUSION

        For the reasons set forth herein, the district court abused its discretion in

  granting Masimo’s motion for a preliminary injunction requiring True Wearables to

  prevent publication of the ’158 Application and its family. Applying the correct legal

  standards to the determination of whether the adjective TSS equation              is a

  trade secret and to whether the adjective TSS equation           was misappropriated

  by True Wearables, the record cannot support the district court’s determination that

  Masimo is likely to succeed on the merits of its trade secret misappropriation claim.

  The district court’s determination on the balance of equities likewise reflects an

  abuse of discretion, not only because it entirely ignores the hardship to True

  Wearables, but also because it fails to acknowledge the status quo that the

  adjective TSS equation            already is in the public domain. Accordingly, the


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  district court’s order granting Masimo’s preliminary injunction requiring True

  Wearables to prevent publication of the ’158 Application and its family should be

  reversed, and the injunction vacated. Moreover, the district court abused its

  discretion in denying True Wearables’ motion for reconsideration. Applying the

  correct legal standard for determining whether the adjective TSS equation

  is “generally known” to the record as supplemented by the testimony of Messrs.

  Diab, Chen, and Paul, the district court’s determination that Masimo was likely to

  succeed on the merits cannot be supported.




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  August 26, 2021                       Respectfully submitted,

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                             ADDENDUM




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                                          ADDENDUM

 APPX APPX Docket No.         Date                                Document
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1      19   257            4/28/21          Order Regarding Revived Motion for Preliminary
            (Confidential)                  Injunction
20     38   262            4/28/21          Order Regarding Revived Motion for Preliminary
                                            Injunction
                                            (Publicly filed version – redactions in original)
39      44      302            6/16/21      Order Regarding Motion for Reconsideration
                (Confidential)
45      50      309            6/16/21      Order Regarding Motion for Reconsideration
                                            (Publicly filed version – redactions in original)

                          CONFIDENTIAL MATERIAL OMITTED

              Pursuant to Federal Circuit Rule 25.1, the Addendum redacts materials that
       Appellees designated as confidential under the protective order entered by the
       district court. The material omitted was originally redacted by the district court in
       the publicly-filed versions of the documents at issue. The material omitted includes
       the name and description of Appellees’ alleged TSS trade secret, descriptions of the
       mathematical method underlying the same, and the name of public domain
       publications disclosing Appellees’ alleged TSS trade secret, all of which the district
       court filed under seal. The redacted material appears on pages Appx000001-000008,
       Appx000011-000016, Appx000020-000027, Appx000030-000035, Appx000039-
       000040, Appx000043, Appx000045-000046, and Appx000049.




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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                            CIVIL MINUTES - GENERAL
   Case No.          SACV 18-2001 JVS (JDEx)                                          Date   April 28, 2021
   Title             Masimo Corporation et al. v. True Wearables Inc. et al.



   Present: The Honorable          James V. Selna, U.S. District Court Judge
                           Lisa Bredahl                                             Not Present
                           Deputy Clerk                                            Comt Reporter
                  Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:
                            Nol Present                                             Not Present

   Proceedings:           [IN CHAMBERS] Order Regarding Revived Motion for Preliminary
                          Injunction

          Before the Court is Plaintiffs Masimo Corporation ("Masimo") and Cercacor
  Inc. 's ("Cercacor'') (collectively- "Plaintiffs") motion for preliminary injunction. Mot.,
  ECF No. 153. Defendants Marcelo Lamego ("Lamego") and T1ue Wearables, Inc. ("T1ue
  Wearables") (collectively- "Defendants") filed an opposition. Opp 'n, ECF No. 171 - 1.
  Plaintiffs responded. Reply, ECF No. 184-1. Defendants also filed a request for oral
  argument. ROA, ECF No. 254.

           For the following reasons, the Court GRANTS the motion.

                                                      I. BACKGROUND

           A.         The Technology at l~sue

          Plaintiffs are two companies that confidentially collaborate to develop technology
  that is used in medical devices. FAC, ECF No. 42, ,r 18. Notably, Plaintiffs specialize in
  the development of devices used for the noninvasive detection of a variety of features of
  a user's blood, such as blood oxygen content. ld.1[ 11. Among the blood para1neters that
  Plaintiffs' devices detect is total hemoglobin - abbreviated as "SpHb." Id. ,r 16.
  Plaintiffs' devices that can detect SpHb contain                        that are used to
  collect information about                  wavelengths of light that the devices' LEDs
  emit through the user's fingertip. Chen Deel., ECF No. 152-2, i1,r 9-10. The devices
  process the data that the photodetectors collect to calculate SpHb. Id.

           At issue in this motion are the signal processing techniques that are used to
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  calculate SpHb. SpHb can be calculated usin

                                                                                                     and
  thereby calculate SpHb. Id. ,i 15. Relying on a complicated equation is undesirable,
  however, because such an equation requires a significant amount of computational
  power, storage, and battery life, among other costs. McNames Dec., ECF No. 152-3, 1
  21. Ideally, such a complex equation would be s implified
                         Id.~ 22. It is computationally difficult, however, to dete1mine the
                                                      the SpHb equation without losing



        Plaintiffs' claimed trade secret - called the                          or "TSS" -
                                                                             '
  determines the valu                         in less than a minute. Id. ,i 26. In essence, the

                                           necessmy to calculate SpHb given a
  predeteremined measure of accuracy. McNames Deel. 1 58; Chen Deel., ECF No. 152-2,
  at 12-13 (TSS presentation). Before introducing                         , it is necessa1y
  to take a tour of some relevant mathematical concepts.

                   1.     Mathematical Background

         Since the TSS relies on matrix manipulation, linear algebra is essential to
  understanding the TSS. "Matrices" are rectangular, two-dimensional aITays of numbers,
  in which the numbers are arranged in row and columns. "Vectors" are merely one-
  dimensiona] matrices. Using matrices and vectors, one can concisely vvrite systems of
  equations where each equation involves the adding together of various tenns that
  themselves are the products of the multiplication of numbers. For example, a 2x2 matrix
  (with elements a, b, c, and cf) and a lx2 vertex (with elements x and y) can be multiplied
  to get a system of two equations:

                                                  a b
                                                [ c d
                                                        l•[  x ]- [ ax + by
                                                             Y .      cx +dy
                                                                               l
        What is particularly relevant here is the calculation of vectors' "norms," which is a
  term for the vectors' size. The TSS derivation involves two no1ms: a I-norm and a
  squared 2-norm. A I -norm for a vector x is denoted by llxll1 and is calculated as the sum
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  of each of the elements in vector x:



  GoldsteinDecl.,ECFNo. 171-2, 121. A squared 2-norm is denoted llxll/ and is
  calculated as the sum of each of the squares in vector x:



                                               llxll~ =   I xf.
                                                            i




        Finally, a key technique used in mathematical optimization involves what are
  known as "Lagrange multipliers." When trying to find the maximum or minimum of a
  given function.f(x), one might sometimes also want to account for certain external
  constraints, such as g(x) = 0. To do so, one can use Lagrange multipliers - represented
  by lower case lambdas (t..) - to construct an equation:

                                        L(x, 11,) = .f(x) - 11,g(x).

  Partial derivatives can then be taken of the equation with respect to each variable - in
  this case x and 11.-which are then set equal to 0 and solved. The resulting solutions are
  where the given function.f(x) has maxima or minima given the external constraint g(x).

               2.




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            1
           While this Order cites to the McNames declaration, the analysis described is originally from
  Section 13 of the                      presentation, ECF No. 156-5.
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           B.      Factual Background

        Plaintiffs specialize in the development and sale of noninvasive technology that
  monitors physiological parameters. Amended Complaint, ECF No. 42, ~ 11. Plaintiffs'
  most notable technological innovation has been the development of more accurate means
  of measuring blood oxygen saturation through a technique called pulse oximetry. Id.
  Lamego worked at Cercacor - which used to be a division of Masimo - until January
  2014, at which time he was the Chief Technology Officer of Cercacor. Id. 1~34, 35. That
  month, Lamego began working at Apple, Inc. ("Apple") as an engineer on the
  "development of non-invasive physiological measurements, including pulse oximetry,
  for Apple for wearable products." Id.~ 37 After working at Apple for seven months,
  Lamego founded True Wearables. Id.~ 38. True Wearables recently began selling a
  product called Oxxiom, a pulse oximeter. Id. ~ 4.

           On November 8, 2018, Plaintiffs filed their complaint with this Court. Compl.,

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   ECF No. 1. The FAC alleges the following causes of action: (1) breach of contract with
   Masimo by Lam.ego, id. ,i,i 45-57; (2) breach of contract with Cercacor by Lamego, id. ,i,i
   59-73; (3) trade secret misappropriation in violation of California's Uniform Trade
   Secrets Act ("CUTSA"), Cal. Civ. Code§§ 3426 e t ~ id. ,i,i 75-87; (4) trade secret
   misappropriation in violation of the Defend Trade Secrets Act ("DTSA"), 18 U.S.C. §§
   1836 et~' id. ,i,i 89-101; ( 5) breach of fiduciary duty of undivided loyalty by Lamego,
   id. ,i,i 103-11; and (6) six separate patent infringement claims. Id. ,i,i 118-90.

          On January 11, 2021, the United States Patent and Trademark Office ("PTO")
   issued a Notice of Allowance for the Patent Application No. 16/198,335 (the '"335
   Patent Application"). Notice of Allowance, ECF No. 152-20, at TRUE052980. The '335
   Patent Application claims priority to Provisional Patent Application No. 62/591,158 (the
   "'158 Patent Application"). Opp'n at 27 n.10. After this Notice of Allowance was
   produced to Plaintiffs on February 9, 2021, the instant motion was filed. Plaintiffs seek
   an injunction ordering Defendants to 1) take all necessary steps before the PTO to
   prevent publication of the '158 Patent Application and any patent application that claims
   priority to the '158 Application, including U.S. Application Nos. 16/198,335,
   16/198,504, and 16/198,550; and 2) not publish and to take all necessary steps to prevent
   publication of any other patent, patent application, document, paper, or presentation that
   discloses the TSS.

                                            II. LEGAL STANDARD

          On an application for a preliminary injunction, the plaintiff has the burden to
   establish that (1) he is likely to succeed on the merits, (2) he is likely to suffer irreparable
   hann if the preliminary relief is not granted, (3) the balance of equities favors the
   plaintiff, and (4) the injunction is in the public interest. Winter v. Natural Res. Def.
   Council, Inc., 555 U.S. 5, 20 (2008).

         In the Ninth Circuit, the Winter factors may be evaluated on a sliding scale:
   "serious questions going to the merits, and a balance of hardships that tips sharply
   toward the plaintiff can support issuance of a preliminary injunction, so long as the

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  plaintiff also shows that there is a likelihood of irreparable injury and that the injunction
  is in the public interest." Alliance for the Wild Rockies v. Cottrell, 632 F .3 d 1127, 1134-
  35 (9th Cir. 2011).

          Moreover, in the Ninth Circuit, the plaintiff may meet this burden if it
   "demonstrates either a combination of probable success on the merits and the possibility
   of irreparable injury or that serious questions are raised and the balance of hardships tips
   sharply in his favor." Johnson v. California State Bd. of Accountancy, 72 F.3d 1427,
   1429 (9th Cir. 1995) (internal quotations and citation omitted). "To reach this sliding
   scale analysis, however, a moving party must, at an 'irreducible minimum,' demonstrate
   some chance of success on the merits." GlobaJ Horizons, Inc. v. U.S. Dep't of Labor, 510
   F.3d 1054, 1058 (9th Cir. 2007) (citing Arcamuzi v. Cont'l Air Lines, Inc., 819 F.2d 935,
   937 (9th Cir. 1987)).

                                                Ill. DISCUSSION

            The Court proceeds to address each of the Winter factors in tmn.

            A.      Success on the Merits

          To prove a prima facie case of trade secret appropriation, the CUTSA "requires the
   plaintiff to demonstrate: (1) the plaintiff owned a trade secret, (2) the defendant acquired,
   disclosed, or used the plaintiffs trade secret through improper means, and (3) the
   defendant's actions damaged the plaintiff." CytoDyn of New Mexico, Inc. v.
   Amerimmune Pharm., Inc., 160 Cal. App. 4th 288, 297 (Cal. Ct. App. 2008) (citing
   Sargent Fletcher, Inc. v. Able Corp., 110 Cal. App. 4th 1658, 1665 (Cal. Ct. App. 2003)).
   See also Cal. Civ. Code§ 3426.1. The Court addresses the first two of these elements in
   tum, and combines the analysis of damage to Plaintiffs in the irreparable harm analysis.

                    l.      The Existence ofa Trade Secret

            The CUTSA defines a trade secret as:

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           information, including a formula, pattern, compilation, program, device, method,
           technique, or process, that: (1) Derives independent economic value, actual or
           potential, from not being generally known to the public or to other persons who
           can obtain economic value from its disclosure or use; and (2) Is the subject of
           efforts that are reasonable under the circumstances to maintain its secrecy.

  Cal. Civ. Code§ 3426.l(d).

         The definition of a trade secret under the DTSA is similar. See 18 U.S.C. §
  1839(3) (definition of a trade secret); Chartwell Staffing Services Inc. v. Atlantic
  Solutions Group Inc., 2019 WL 2177262, at *5 (C.D. Cal. May 20, 2019) (noting
  similarity of the two definitions); Sun Distributing Co., LLC v. Corbett, 2018 WL
  4951966, at *3 (C.D. Cal. Oct. 12, 2018) (same). At the same time, there is one key
  difference between the CUTSA and the DTSA: whether a trade secret can be "readily
  ascertainable." Compare 18 U.S.C. § 1839(3) (requiring that information "not be[]
  readily ascertainable through proper means" to qualify as a trade secret) with West's
  Ann. Cal. Civ. Code§ 3426. 1 ( 1984 Legislative Committee Comments) (noting that the
  California legislature expressly declined to include the phrase "readily ascertainable" in
  the defmition of trade secret). The Ninth Circuit therefore has written that "whether
  infom1ation is 'readily ascertainable' is not part of the definition of a trade secret in
  California." Imax Corp. v. Cinema Technologies, Inc., 152 F.3d 1161 , 1168 n. l O (9th
  Cir. 1998). Instead, under the CUTSA, ready ascertainability is a defense that "will be
  based upon an absence of 1nisappropriation, rather than the absence of a trade secret."
  ABBA Rubber Co. v. Seaquist, 235 Cal. App. 3d 1, 21 n.9 (1991). As such, under the
  CUTSA, ready ascertainability is only a defense insofar as the defendant actually gained
  knowledge of the trade secret by use of those materials which make the trade secret
  readily ascertainable. See Imax, 152 F.3d at 1168 n.10; Medtronic MiniMed, Inc. v.
  Nova Biomedical Corp., 2009 WL 10672947, at *1 (C.D. Cal. Aug. 14, 2009).

        Plaintiffs argue that the TSS is a trade secret that gives Plaintiffs an advantage
  over competitors by virtue of not being known. Mot. at 11-13. Specifically, "Plaintiffs'
  development of its SpHb technology                            , and Plaintiffs remain

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  essentially the only supplier of SpHb" detection technology. Id. at 12 (citing Kiani Deel.,
  ECF No. 152-4, 119-1O; Chen Deel., ECF No. 152-2, ,i,i 23-26). Plaintiffs further argue
  that they took reasonable steps to maintain secrecy, such as requiring that employees
  sign confidentiality agreements and preventing publication of documents that would
  reveal the TSS. Id. at 13.

          Defendants' arguments to the contrary are unavailing. Defendants argue that the
  TSS                    are "generally known and readily ascertainable," meaning that they
  cannot be protected as trade secrets. Opp 'n at 15-19. Defendants make this argument
  without reference to the law, however. As Plaintiffs point out, for the Court to conclude
  that the TSS is not a trade secret under either the DTSA or the CUTSA, the Court must
  determine that the TSS is not "generally known to the public or to other persons who can
  obtain economic value from its disclosure or use." Cal. Civ. Code§ 3426.l(d)(l); see
  Reply at 6. As discussed above, to the extent that the TSS is readily ascertainable,
  Defendants have a defense to the existence of a trade secret under the DTSA, but must
  still show that Defendants made use of that means of ascertainment to have a defense
  under the CUTSA.

        Defendants fail to argue that the TSS was ''generally known" by people who could
  obtain economic value from its use. Rather, Defendants argue that the TSS was publicly
  availabJe i



                                                       Opp'n at 15-19. While both of these
  articles are published as conference papers, meaning that they are not obscure, this does
  not mean that the particular techniques described in them were "generally known" to
  people who could obtain economic value from developing noninvasive blood content
  detectors. At best, the articles could be a basis for determining that the TSS was "readily
  ascertainable." See West's Ann. Cal. Civ. Code§ 3426.1 (1984 Legislative Committee
  Comments) ("Information is readily ascertainable if it is available in trade journals,
  reference books, or published materials."). These papers were both found by Defendants'

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  expert and not shown to be the origin of the invention embodied in the '158 Patent
  Application. Goldstein Deel., ECF No. 171-2, 1 29. The Court therefore concludes that
  the TSS can be a trade secret under the CUTSA because it was not publicly known.

          Defendants next argue that the TSS is not a source of independent economic value
  because there have been other publicly available -           that are faster than the TSS.
  Opp'n at 21-23. Namely, Defendants point to                     given in
  and a                    by Defendants' expert, Tom Goldstein, that has been publicly
  available since 2014. Id. But these arguments are similarly unavailing. Defendants'
  argument is, in essence, that the TSS cannot be a trade secret because other, more
  efficient -       are readily ascertainable. If the Court were to accept this argument, then
  the Court would be undercutting the policy decision made by the California Legislature
  to not permit the ready ascertainability of information to be a defense to the existence of
  a trade secret. While in this case what is readily ascertainable is infonnation related to,
  but not the same as, the TSS, the same moral hazard is created. Namely, if the Court
  were to accept Defendants' argument, a competitor who wishes to copy a particular trade
  secret is incentivized to engage in misappropriation of the competitor's trade secret
  instead of acquiring the readily ascertainable information through other legitimate
  means. Even if the Defendants did engage in misappropriation, they could always claim
  that it was unnecessary to use the legitimate means since the mere existence of the other
  means undermines the protection of the trade secret. The California Legislature
  expressly chose to eliminate such an incentive for misappropriation by allowing for
  ready ascertainability to be a defense to misappropriation, even if it does not serve as a
  defense to the existence of a trade secret in the first place. Competitors are encouraged to
  take advantage of publicly available means of obtaining the trade secret they are
  interested in.

        This understanding of the requirements of Cal. Civ. Code§ 3426.1 is consistent
  with case law that "[t]he standard to show that trade secrets derive economic value is not
  a high standard." Cisco Systems, Inc. v. Chung, 462 F. Supp. 3d 1024, 1052 (N.D. Cal.
  May 26, 2020) (citing Calendar Research LLC v. Stubhub, Inc., 2017 WL 10378336, at
  *3 (C.D. Cal. Aug. 16, 2017)). To detennine that readily ascertainable information is

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  "better" than the asse1ied trade secret and deprives the trade secret of its economic value,
  the trade secret and the other readily ascertainable infonnation must be closely
  scrutinized to detem1ine which is indeed "better." This would create a high standard for
  any plaintiff to meet, for the plaintiff would have to show not only that the asserted trade
  secret derives "independent economic value," but that it derives more value than any
  possible alternative. Indeed, by pointing to an alternative -      ban the TSS,
  Defendants here are not arguing that the TSS does not derive independent economic
  value, but that it would not derive that economic value if a competitor were to employ


         The Comi therefore rejects Defendants' argument that the TSS does not derive
  independent economic value. Defendants' argument runs contrary to California
  legislative policy and does not deny that the TSS does provide economic value to
  Plaintiffs now. It is undisputed that the TSS's economic value derived from how it made
                                                                 so that development of
  SpHb-measuring devices was practical. See Reply at 16; Chen Deel. 1~ 22-26. Thus, the
  Court finds that Plaintiffs are likely to show that the TSS does derive independent
  economic value by virtue of not being publicly known and are therefore likely to show
  the existence of a trade secret.

           2.      Misappropriation

         The main disagreement between the Parties about whether Defendants
  misappropriated the TSS is about whether the' 158 Application discloses the TSS. See
  Opp'n at 23-24; Reply at 18-19. Specifically, Defendants argue that the -
                in the '158 Application are actually not disclosed in the 2010 Workshop
  Presentation and are                      the TSS                      ." Opp'n at 23. But, this
  argument is unavailing, even if the Court were to accept Defendants' argument that "the
  only aspect of the TSS alleged to have any value is the TSS update formulas." Id. at 20.
  This is because the                                is in 1 79 of the ' 15 8 Patent Application,
  just using different variables. Specifically, the '158 Patent Application recommends the
  user

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   ' 158 Patent Application, ECF No. 152-6, 179. As McNames indicates in his declaration,
   this expression is the same as the constrained update formula, which is:




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  Id. ~ 80. After replacing the variables with the map above, the expressions can be
  rearranged to demonstrate that the two equations are identical. See id. ~178-86.

        Defendants do not argue otherwise. Indeed, they seem to word their opposition in
  such a way as to implicitly acknowledge that McNarnes' analysis is correct. Opp'n at 23
  ("However, for two of the three examples Dr. Names's analysis takes liberties.")
  (emphasis added). The disclosme of thi                                is sufficient for the
  Court to conclude that the ' 158 Patent Application discloses the TSS.

         Having concluded that the ' 158 Patent Application discloses the TSS, the Court
  can also determine that Plaintiffs are likely to show misappropriation by Defendants. See
  Mot. at 13-14 ( arguing that Defendants misappropriated the TSS). A defendant can
  misappropriate a trade secret in one of three ways: acquisition, disclosure, or use. Cal.
  Civ. Code§ 3426. l. At the minimum, Plaintiffs are likely to show improper acquisition
  of the TSS. A defendant misappropriates trade secrets by acquisition if it "knew or had
  reason to know that the trade secret was acquired by improper means," which includes
  "breach or inducement of a breach of a duty to maintain secrecy." Cal. Civ. Code §§
  3426.1 (a) & (b)(1 ). Plaintiffs have demonstrated that Lamego knew that the TSS was
  Plaintiffs' trade secret. Ex. 12, ECF No. 152-1 l , at MASM0 113 836. Lamego also signed
  several Confidentiality Agreem.e nts in which he stated that he would keep Plaintiffs'
  trade secrets confidential. Exhibits 3-5, 8, ECFNos. 153-8, 153-9, 153-10, 153-13.
  Defendants do not provide any response to Plaintiffs ' contention that Lamego brought
  the TSS with him after he left his job with Plaintiffs.

           Thus, the Court concludes that Plaintiffs are likely to succeed on the merits.

           B.      Irreparable Harm

        The Court next turns to whether Plaintiffs have demonstrated irreparable harm if
  the Court does not grant this motion. Plaintiffs argue that without a preliminary
  injunction, their trade secret will be disclosed and will no longer be secret. Mot. at 14-15.
  At that point, Plaintiffs contend, they will lose any competitive advantage that they

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   might receive from their trade secret. Id.

          The Court agrees. Defendants respond that Plaintiffs have "waited nearly 17
   months to seek this preliminary injunction," and this delay indicates that there is no
   exigent need for a preliminary injunction. Opp'n at 24-26. But the Court does not believe
   that Plaintiffs have unreasonably delayed their motion for a preliminaiy injunction.
   Plaintiffs only filed this motion for preliminary injunction once they learned that
   Defendants had received a Notice of Allowance indicating that publication of the '15 8
   Patent Application was imminent. Mot. at 1 (noting that Plaintiffs filed the motion for
   preliminary injunction one week after Defendants produced the otice of Allowance).
   Insofar as Plaintiffs are seeking to prevent the imminent harm that would accrue through
   publication of the TSS, it is only natural this motion would follow soon after Plaintiffs
   receive notice that such publication is imminent. This factor weighs in favor of a
   preliminary injunction.

            C.      Balance of the Equities

         Plaintiffs next argue that the balance of the equities weighs heavily in their favor
  because the hardship of Defendants publishing Plaintiffs' trade secrets would outweigh
  Defendants being required to request nonpublication of the relevant applications and
  delaying issuance until after trial. The Court agrees. Publication of the '158 Patent
  Application risks Plaintiffs' trade secret becoming public, making it so Plaintiffs lose
  any value that the TSS accrues by virtue of not being publicly known. By contrast,
  Defendants will not lose protection for the inventions in the patent applications that rely
  on the '15 8 Patent Application for priority if the preliminary injunction is granted.
  Plaintiffs can continue to maintain these inventions as trade secrets and prosecute any
  patent applications confidentially. In short, without the preliminary injunction, Plaintiffs
  would lose protection for one of their inventions while Defendants would still have a
  way to protect their inventions regardless of if the preliminary injunction issues. This
  factor weighs in favor of granting the motion.



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            D.      Public Interest

         Finally, the Court turns to whether issuing Plaintiffs' proposed preliminary
  injunction would be in the public interest. "If ... the impact of an injunction reaches
  beyond the parties, carrying with it a potential for public consequences, the public
  interest will be relevant to whether the district court grants the preliminary injunction."
  Stormans Inc. v. Selecky, 586 F.3d 1109, 1139 (9th Cir. 2009). "Protection of trade
  secrets benefits the public interest." Chartwell Staffing, 2019 WL 2177262, at* 11.

           Defendants contend that issuing the preliminary injunction would cut against the
   public interest by sanctioning "harass[ment of] former employees" and by preventing
   medical devices from being available to the public. Opp'n at 27-28. The Court disagrees.
   First, this case does not involve "harassment" of a former employee since the Court has
   concluded that Plaintiffs are likely to succeed in their claim for trade secret
   misappropriation. Second, the preliminary injunction that Plaintiffs seek would not
   prevent True Wearables from bringing new devices to market. Rather, T1ue Wearables
   would merely be prevented from allowing patents that rely on the '158 Patent
   Application for priority to publish. Thus, the Court concludes that this factor weighs in
   favor of granting the preliminary injunction.

            E.      Conclusion

         Having concluded that all the Winter factors weigh in favor a preliminary
   injunction, the Court GRANTS the motion.

          The Court therefore ORDERS Defendants to: 1) take all necessary steps before
   the PTO to prevent publication of the '158 Patent Application and any patent application
   that claims priority to the' 158 Application, including U.S. Application Nos. 16/198,335,
   16/198,504, and 16/198,550; and 2) not publish and to take all necessary steps to prevent
   publication of any other patent, patent application, document, paper, or presentation that
   discloses the TSS.


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         As Defendants have not attempted to argue that a bond is necessary in this case,
   the Court does not impose one.

                                              IV. CONCLUSION

         For the foregoing reasons, the Court GRANTS the motion. Having considered
   Defendants' request for oral argument, the Court finds that arguments were adequately
   presented in the briefing papers and DENIES the request. The Court asks the parties to
   meet and confer and notify the Court which parts of the order should be redacted within
   7 days.

                   IT IS SO ORDERED.




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                                                                                UNDER SEAL
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                                    CENTRAL DISTRICT OF CALIFORl~lA

                                             CMLMJNUTES -GENERAL
    Case No.          SACV 18-2001 JVS (JD Ex)                                         Date   June 16, 2021
    Title             Masimo Corp. et al. v. True Wearables, Inc. et al.



    Present: The Honorable          James V. Selna, U.S. District Court Judge
                            Lisa Bredahl                                             Not Present
                            Deputy Clerk                                           Court Reporter
                   Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:

                             NotPresenl                                              Not Present

    Proceedings:           [IN CHAMBERS] Order Regarding Motion for Reconsideration

         Defendants True Wearables, Inc. ("True Wearables") and Marcelo Lamego
   ("Lamego") (collectively-"Defendants") move for reconsideration of the Court's April
   28, 2021 Order granting Plaintiffs Masimo Corporation ("Masimo") and Cercacor
   Laboratories, Inc. 's ("Cercacor'') (collectively- "Plaintiffs") motion for a preliminary
   injunction (the "Order"). Mot., ECF No. 274. Plaintiffs filed an opposition. Opp'n, ECF
   No. 288-1. Defendants responded. Reply, ECFNo. 301.

            For the following reasons, the Court DENIES the motion.

                                                       I. BACKGROUND

           This motion stems from Plaintiffs' attempt to prevent disclosure of a trade secret
   they call th                           ("TSS"). On Apri l 28, the Court directed Defendants
   to " l) take all necessary steps before the [United States Patent and Trademark Office] to
   prevent publication of[Provisional Patent Application No. 62/591,158 (the "' 158
   Application")] and any patent application that claims priority to the ' 158 Application,
   including U.S. Application Nos. 16/198,335, 16/198,504, and 16/198,550; and 2) not
   publish and to take all necessary steps to prevent publication of any other patent, patent
   application, document, paper, or presentation that discloses the TSS." Order, ECF No.
   257, at 9.

          In relevant part, the Court rejected Defendants' argument that the TSS is not a
   trade secret. Id. at 12-14. Defendants argued that the TSS was disclosed in two articles
   published by journals of the Institute of Electrical and Electronics Engineers ("IEEE"):


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                                           Id. at 12. Since the two publications disclosed the
   TSS, Defendants argued that the TSS was "generally known to the public or to other
   persons who can obtain economic value from its disclosure or use" and therefore did not
   constitute a trade secret under the Califon1ia Uniform Trade Secrets Act ("CUTSA"). Id.;
   see Cal. Civ. Code§ 3426.l(d) (definition for a trade secret). TI1e Court rejected this
   argument, stating:

                    While both of these articles are published as conference papers,
                    meaning that they are not obscure, this does not mean that the
                    particular techniques described in them were "generally known"
                    to people who could obtain economic value from developing
                    noninvasive blood content detectors. At best, the articles could be
                    a basis for determining that the TSS was "readily ascertainable."
                    See West's Ann. Cal. Civ. Code § 3426.l (1984 Legislative
                    Committee Comm.ents) ("Information is readily ascertainable if
                    it is available in trade journals, reference books, or published
                    materials."). These papers were both found by Defendants' expert
                    and not shown to be the 01igin of the invention embodied in the
                    '158 Patent Application. Goldstein Deel., ECF No. 171-2, ~ 29.
                    The Court therefore concludes that the TSS can be a trade secret
                    under the CUTSA because it was not publicly known.

   Order at 12-13.

                                             ll. LEGAL STANDARD

            The grounds for reconsideration are set forth in Local Rule 7-18, which provides:
                    A motion for reconsideration of the decision on any motion may
                    be made only on the grounds of (a) a material difference in fact or
                    law from that presented to the Comt before such decision that in
                    the exercise of reasonable diligence could not have been known
                    to the party moving for reconsideration at the time of such
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                                  UNITED STATES DISTRICT COURT
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                    decision, or (b) the emergence of new material facts or a change
                    of law occurring after the time of such decision, or ( c) a manifest
                    showing of a failure to consider material facts presented to the
                    Court before such decision. No motion for reconsideration shall
                    in any manner repeat any oral or written argument made in
                    suppmi of or in opposition to the original motion. Absent good
                    cause shown, any motion for reconsideration must be filed no
                    later than 14 days after entry of the Order that is the subject of the
                    motion or application.

   L.R. 7-18. 1 The Court has discretion in determining whether to grant a motion for
   reconsideration. See Navajo Nation v. Confederated Tribes & Bands of the Yakima
   Indian Nation, 331 F.3d 1041, 1046 (9th Cir. 2003).

          Defendants also cite to Federal Rule of Civil Procedure 60(b ). See Mot. at 3-4. But
   Rule 60(b) is inapposite since it only applies to a "final judgment, order, or proceeding,"
   a category that does not include preliminary injunctions. Prudential Real Estate
   Affiliates, Inc. v. PPR Realty, Inc., 204 F.3d 867, 880 (9th Cir. 2000). Defendants'
   citation to Rule 59(e) is similarly inappropriate because it also refers to entry of a
   judgment. See Reply at 7.

                                                III. DISCUSSION

          The Court first notes that motions for reconsideration under Local Rule 7-18 must
   "be filed no later than 14 days after entry of the Order that is the subject of the motion or
   application" absent good cause. Defendants argue that good cause exists because the key
   evidence on which they rely did not emerge until after the issuance of the Order on April
   28. Mot. at 4. The relevant depositions of Mohammed Diab ("Diab") occurred on May 4
   and May 6, while Defendants deposed Jesse Chen ("Chen") and Matthew Paul ("Paul")
   on May 11 and May 13, respectively. Id. at 4 n.3. The Court assumes for purposes of this
   motion that Defendants have satisfied the good-cause requirement.



            See also School Dist. No. IJ, Multnomah Countyv. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir.
            1

   1993) (reconsideration appropriate if the movant demonstrates clear error, manifest injustice, newly
   discovered evidence, or an intervening change in controlling law).
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         Defendants argue that Diab, Chen, and Paul-three key employees at
   Masimo-made statements in their depositions that show "that IEEE publications are
   generally known to electrical engineers." Id. at 4. This argument fails on multiple
   grounds.

          First, the key issue in the Order is not whether journals including articles
   disclosing an alleged trade secret are generally known but whether the alleged trade
   secret itself is generally known. Cal. Civ. Code§ 3426.l(d) (defining a trade secret as
   "information ... that: (1) [d]erives independent economic value ... from not being
   generally known to the public or to other persons who can obtain economic value from
   its disclosure or use"). Thus, showing that IEEE publications are generally known to
   electrical engineers-a wholly unremarkable assertion considering IEEE is the primary
   professional association for electrical engineers with hundreds of thousands of members
   around the world and numerous international conferences annually, see Claassen Deel.,
   ECF No. 286-1, at Ex. C -is insufficient to show that information found in particular
   articles is generally known.

         Second, IEEE publishes about two hundred different transactions, journals, and
   magazines. Id. Therefore, it is unreasonable to conclude that all information contained in
   IEEE publications are well known because IEEE publications are themselves well
   known; IEEE publishes so much research in any given year that not all of it can be "well
   known." Id. (noting that about 200,000 papers are added annually to IEEE Explore,
   IEEE's digital library). Moreover, given the number of IEEE publications that exist, the
   statement that "IEEE ... is a fairly famous journal," Mot. at 5, is nonsensical.

          Third, Defendants do not account for the CUTS A's legislative comment that
   "[i]nformation is readily ascertainable if it is available in trade journals,
   reference books, or published materials." West's Ann. Cal. Civ. Code § 3426.1 (1984
   Legislative Committee Comments); see Order at 12 (citing this comment). As the Court
   noted in the Order, under the CUTSA, ready ascertainability is only a defense to the
   existence of a trade secret insofar as the defendant actually gained knowledge of the
   trade secret by use of those materials which make the trade secret readily ascertainable.
   Order at 11; see Imax, 152 F.3d at 1168 n.10; Medtronic MiniMed, Inc. v. Nova
   Biomedical Corp., 2009 WL 10672947, at *1 (C.D. Cal. Aug. 14, 2009). Since there is
   no suggestion that Defendants gained knowledge of the TSS through the IEEE articles,

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   showing ready ascertainability is insufficient to show that the TSS is not a trade secret.
   Since the California legislature intended for information contained in publications like
   those produced by IEEE to be readily ascertainable, Defendants' argument fails.

          Fomih, the Court was already familiar with how well known the articles at issue
   were. See,~, Goldstein Deel., ECF No. 171-2, ~ 59 (noting that                      has
   been cited over 1200 times). This motion therefore does not raise any new material facts
   that justify reconsideration under Local Rule 7-18. 2

           Defendants also attempt to argue that the Court's previous 1uliug improperly
   shifted the burden to the Defendants. Mot. at 7-8. This argument fails for two reasons.
   First, there is no basis under Local Rule 7-18 for raising an argument that the Court
   improperly interpreted the law as part of a motion for reconsideration. Second, Plaintiffs
   have indeed met their burden. In the Order, the Court found that Plaintiffs "took
   reasonable steps to maintain secrecy, such as requiring that employees sign
   confidentiality agreements and preventing publication of documents that would reveal
   the TSS." Order at 12. Defendants failed to rebut this showing that the TSS is a trade
   secret. Defendants' citation to Amgen Inc. v. California Correctional Health Care
   Services, 47 Cal. App. 5th 716, 736 (2020), is unavailing. See Mot. at 7. In Amgen, the
   court found that Amgen itself had disclosed the information that it was attempting to
   argue was a trade secret. 47 Cal. App. 5th at 735 ("Amgen does not dispute that it
   disclosed its price increase notice to over 170 registered purchasers."). Here, by contrast,
   Defendants never rebutted Plaintiffs by showing that Plaintiffs disclosed the TSS or, as
   outlined above, that the TSS was in fact generally known.

                                                IV. CONCLUSION

          For the foregoing reasons, the Comt DENIES the motion. The Court finds that
   oral argument would not be helpful in this matter. Fed. R. Civ. P. 78; L.R. 7-15. Hearing



            2
             Much of the evidence that Defendants submit is also irrelevant to the analysis. The fact that
   three people have read IEEE journals does not show that those journals are "generally known to
   electrical engineers." The Court therefore has no reason to consider the fact that Chen and his colleagues
   shared IEEE articles, Paul reads IEEE publications, and Diab once referenced an IEEE publication in
   one of bis notebooks. Mot. at 5-6.
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   set for June 28, 2021, is ordered VACATED. The Court asks the parties to meet and
   confer and notify the Court which parts of the order should be redacted within 7 days.

                    IT IS SO ORDERED.


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  Dated: August 26, 2021

                                          By: /s/ Rachel Zimmerman Scobie
                                              Rachel Zimmerman Scobie

                                             Attorneys for Defendants-Appellants
                                             True Wearables, Inc. and Marcelo
                                             Lamego




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